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    8
                            UNITED STATES DISTRICT COURT
    9
                          CENTRAL DISTRICT OF CALIFORNIA
   10
      MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF(SK)
   11 Behalf of All Others Similarly Situated, )
                                                 ) CLASS ACTION
   12                           Plaintiff,       )
                                                 ) CONSOLIDATED CLASS ACTION
   13       vs.                                  ) COMPLAINT FOR VIOLATIONS OF
                                                 ) THE FEDERAL SECURITIES LAWS
   14 STAMPS.COM, INC., KENNETH                  )
      McBRIDE, KYLE HUEBNER, and                 )
   15 JEFF CARBERRY,                             )
                                                 )
   16                           Defendants. )
                                                 )
   17 INDIANA PUBLIC RETIREMENT                  )
      SYSTEM, Individually and on Behalf of ))
   18 All Others Similarly Situated,
                                                 )
   19                           Lead Plaintiff, ))
   20       vs.                                  )
                                                 )
   21 STAMPS.COM, INC., KENNETH                  )
      McBRIDE, KYLE HUEBNER, and                 )
   22 JEFF CARBERRY,                             )
                                                 )
   23                           Defendants. ))
                                                   DEMAND FOR JURY TRIAL
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    1            Lead Plaintiff Indiana Public Retirement System (“Lead Plaintiff” or
    2 “INPRS”), by and through its undersigned counsel, brings this federal class action
    3 based upon personal knowledge as to those allegations concerning itself and, as to
    4 all other matters, upon the investigation of counsel, which included, without
    5 limitation, the review and analysis of: (a) public filings made by Stamps.com
    6 (“Stamps” or the “Company”) with the U.S. Securities and Exchange Commission
    7 (the “SEC”); (b) releases and other publications disseminated by defendants;
    8 (c) securities analyst reports, news articles, websites, and other publicly available
    9 information concerning defendants and other related non-parties, including the U.S.
   10 Postal Service (the “USPS”); and (d) interviews with certain former Stamps
   11 employees and consultation with industry experts. Lead Plaintiff believes that
   12 substantial additional evidentiary support will likely exist for the allegations set forth
   13 herein after a reasonable opportunity for discovery.
   14                                          INTRODUCTION
   15            1.         This is a securities fraud class action brought on behalf of all persons
   16 who purchased the common stock of Stamps between May 3, 2017 and May 8, 2019,
   17 inclusive (the “Class Period”), against Stamps, its Chief Executive Officer (“CEO”),
   18 its President and former Chief Financial Officer (“CFO”), and its                  CFO1 for
   19 violations of the federal securities laws.
   20            2.         Defendant Stamps is a provider of Internet-based mailing and shipping
   21 solutions to customers in the United States and Europe. Stamps offers customers
   22 USPS products at discounted rates that allow them to print “electronic postage”
   23 directly onto envelopes, plain paper, or labels using a standard personal computer,
   24 printer and Internet connection. During the Class Period, Stamps exploited its
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           The “defendants” are Stamps, Kenneth McBride (“McBride”), Kyle Huebner
        (“Huebner”), and Jeff Carberry (“Carberry”).
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    1 contractual relationships with the USPS by providing customers unauthorized-
    2 discounted USPS shipping under what was known as the “reseller program.”
    3            3.         Postage and shipping transactions with the USPS accounted for
    4 approximately 87% of Stamps’ Class Period revenue. Thus, Stamps’ operating
    5 performance was entirely dependent on maintaining, protecting, and preserving
    6 good relations with the USPS. Stamps’ relationship with the USPS was largely
    7 premised on the notion that Stamps’ promotional and business activities would
    8 induce large-volume shippers to utilize USPS products. To this end, Stamps was
    9 allowed to buy postage from the USPS at prices that were far less than advertised
   10 rates and resell that postage at a substantial markup (though still below market price).
   11 In fact, this “reselling” market was dominated by Stamps, which had an agreement
   12 with the USPS that Stamps would only offer these discounted rates to companies
   13 that would ship in large volumes and therefore warranted discounts for buying
   14 postage in bulk. In violation of the terms and the spirit of the USPS’s reseller
   15 program, Stamps, however, was clandestinely offering discounted pricing to small-
   16 volume shippers that were already using the USPS for their shipping needs. Once
   17 the USPS confirmed Stamps’ improper reseller practices, the highly profitable
   18 exclusive partnership Stamps had with the USPS was terminated.
   19            4.         Notwithstanding the fact that Stamps was aggregating small-volume
   20 shippers and providing them unauthorized discounts (by entering reseller
   21 partnerships with third parties and secretly skimming USPS profits), Stamps
   22 publicly represented throughout the Class Period that its strong operating
   23 performance was the result of the Company’s strong partnership with the USPS. For
   24 example, in August 2017, shortly after questions surfaced regarding Stamps’ role in
   25 the USPS reseller program, Chairman of the Board (“Chairman”) and CEO McBride
   26 repudiated any suggestion of tension between Stamps and the USPS, assuring
   27 investors that “[w]e continue to enjoy a great partnership with the Postal Service and
   28 feel that we have created a sustainable win-win model for both of us.” To investors,
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    1 defendants made it appear that the Company’s strategy was a glowing success, as
    2 Stamps posted double-digit compounded annual growth in net revenue and earnings,
    3 with Stamps’ revenue increasing from $128 million in 2013 to $469 million in 2017,
    4 a 266% increase. As a result of this perceived success, Stamps’ share price rose
    5 from approximately $110 to more than $280 per share during the Class Period.
    6            5.         The truth, however, was that a majority of Stamps’ reported revenue
    7 and earnings growth during the Class Period was the product of the undisclosed,
    8 improper, and unsustainable business practices detailed herein, including Stamps’
    9 manipulation of a USPS reseller program in a manner that was designed to and did
   10 effectively cannibalize USPS revenues by an estimated $235 million per year.
   11 Specifically, Stamps was secretly bundling small-volume postage customers to
   12 make these small-volume customers appear to be large-volume customers and then
   13 purchasing postage from the USPS at discounted rates to which small-volume
   14 customers were not entitled.
   15            6.         As part of defendants’ scheme to skim profits from the USPS by
   16 bundling small-volume shippers, Stamps utilized its subsidiaries and affiliates to
   17 secure discounted postage from the USPS via Negotiated Service Agreements
   18 (“NSAs”). The NSAs provided discounted postage for large-volume customers that
   19 warranted this special agreement with and treatment by the USPS. The NSAs did
   20 not permit Stamps to bundle customers and secretly pass on discounts to small-
   21 volume shippers. In fact, small-volume shippers did not qualify for NSAs with the
   22 USPS and were not authorized to receive the discounted shipping rates that Stamps
   23 was providing.             By improperly extending the USPS’s NSA program to non-
   24 qualifying customers, Stamps generated significant profits from the spread between
   25 the amount Stamps paid the USPS for postage and the amount customers paid
   26 Stamps for this same postage.
   27            7.         Knowing it was only a matter of time before Stamps’ unauthorized
   28 “reselling” of special reduced postage rates would be discovered and shut down by
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    1 the USPS, the Individual Defendants (defined below) and other Stamps insiders
    2 rushed to sell hundreds of millions of dollars in Stamps stock at artificially inflated
    3 prices as high as $272 per share. The dramatic stock sales by these Company
    4 insiders were unusual in their amount and suspicious in their timing and were
    5 completed without first disclosing the adverse facts regarding Stamps’ scheme and
    6 wrongful course of business. Defendants McBride (the Company’s CEO and
    7 Chairman), Huebner (the Company’s CFO prior to August 2017), and Carberry (the
    8 Company’s current CFO), collectively sold over 302,000 of their Stamps shares at
    9 artificially inflated prices for proceeds of nearly $59 million. In total, Stamps
   10 insiders dumped over a million shares of stock during the Class Period for proceeds
   11 of over $230 million.
   12            8.         In order to sell the vast majority of their Stamps shares at artificially
   13 inflated prices before the truth about defendants’ misconduct was revealed,
   14 defendants, together with Stamps Board members, also caused the Company to
   15 expend approximately $300 million in Stamps’ own cash to repurchase shares at the
   16 same time that Stamps insiders were selling hundreds of millions of dollars’ worth
   17 of their own Company stock. The concurrent repurchase of Stamps shares by the
   18 Company was a key part of defendants’ misconduct, as it averted a precipitous
   19 decline in Stamps’ share price that their massive insider trading would have
   20 otherwise caused and allowed defendants to continue selling their own Stamps
   21 shares at artificially inflated prices.
   22            9.         Stamps’ abuse of the USPS reseller program contributed to growing
   23 losses at the USPS and helped undermine the long-term financial viability of the
   24 agency. In April 2018, a governmental Task Force was established to evaluate the
   25 USPS’s operations and finances. The Task Force’s December 2018 Report (the
   26 “Task Force Report”) concluded that the USPS was forecasted to lose tens of billions
   27 of dollars over the next decade. The Task Force Report listed “product pricing”
   28 among the primary reasons for the deterioration in the USPS’s financial condition.
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    1            10.        On February 21, 2019, two months after the Task Force Report was
    2 released, Stamps stunned investors by announcing the end of its exclusive USPS
    3 partnership. On a subsequent conference call to discuss Stamps’ 4Q18 and FY18
    4 financial results2, McBride misleadingly represented that it was the Company that
    5 had “decided to discontinue [its] shipping partnership with the USPS so that [it
    6 could] fully embrace partnerships with other carriers who . . . will be well positioned
    7 to win in the shipping business in the next 5 years.” This dramatic revelation
    8 confused the market, which attempted to process the inexplicable announcement that
    9 Stamps was simply walking away from a business relationship that accounted for a
   10 significant portion of its revenue. As a result of this news, the Company’s stock
   11 price plummeted $114 per share on record trading volume of 13.7 million shares,
   12 dropping from $198 per share to close at less than $84 per share on February 22,
   13 2019, a decline of over 57%.
   14            11.        Notwithstanding   defendant   McBride’s   February   21,   2019
   15 representations about the reasons for the termination, the timing of the dissolution
   16 and the conclusions set forth in the Task Force Report indicated that the USPS itself
   17 had decided to end its exclusive partnership with Stamps because of the Company’s
   18 manipulative reseller practices. Indeed, on February 26, 2019, The American
   19 Conservative reported that, contrary to defendant McBride’s representations that
   20 Stamps initiated the dissolution of its USPS exclusive partnership, the USPS had in
   21 fact decided to terminate its relationship with Stamps in the face of the Company’s
   22 “reseller” program abuses, which had an annual cost to the USPS of at least $235
   23 million.
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         Stamps’ fiscal quarters and fiscal years are abbreviated throughout. Thus,
      “4Q18” for example, represents the fourth quarter of fiscal year 2018. “FY18”
   27 represents the fiscal year 2018. Stamps’ fiscal year follows the calendar year,
      beginning on January 1 and ending on December 31.
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    1            12.        Stamps’ reseller scheme finally unraveled on May 8, 2019, when
    2 Stamps again shocked investors, slashing the Company’s FY19 profit outlook.
    3 Stamps announced that it was lowering earnings guidance because of potential
    4 unfavorable short- and long-term amendments, renegotiations, and termination of
    5 certain NSAs between the USPS and the Company’s reseller partners – which
    6 defendants had known about and anticipated since the start of the Class Period,
    7 despite falsely asserting that they “very recently bec[a]me aware” of these adverse
    8 conditions that would have a negative impact on the Company’s financials. The
    9 Company further stated that it now expected FY19 profit of $3.35 to $4.85 per share,
   10 down from its prior estimate of $5.15 to $6.15 per share. As a result of this news,
   11 Stamps’ stock price dropped another $46 per share, on record trading volume of 16.8
   12 million shares, to close at under $37 per share on May 9, 2019, a decline of over
   13 56%. The two consecutive 50% slides in Stamps’ share price following two
   14 consecutive quarterly announcements is extraordinary.3 Stamps investors lost 76%
   15 of their investments in only two and a half months as the truth regarding Stamps’
   16 deteriorating relationship with the USPS reached the market.
   17            13.        Accordingly, while Company insiders were able to unload over $230
   18 million of their own Stamps stock at prices well over $200 per share, Lead Plaintiff
   19 and other members of the Class (defined below) who purchased Stamps shares at
   20 inflated prices have suffered hundreds of millions of dollars in harm as the truth
   21 about, and impact associated with, defendants’ misconduct entered the market.
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         George Pearkes, a macro strategist at Bespoke Investment Group, noted that there
   27 have been “‘zero instances,’” based on Bespoke’s data, which begins in 2001, of a
      U.S. stock dropping 50% on two sequential quarterly reports.
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   11                                   JURISDICTION AND VENUE
   12            14.        The claims asserted herein arise under §§10(b), 20(a) and 20A of the
   13 Securities Exchange Act of 1934 (the “1934 Act”), 15 U.S.C. §§78j(b), 78t(a) and
   14 78t-1, and SEC Rule 10b-5, 17 C.F.R. §240.10b-5, promulgated thereunder.
   15            15.        This Court has jurisdiction over the subject matter of this action
   16 pursuant to 28 U.S.C. §1331 and §27 of the 1934 Act.
   17            16.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because
   18 many of the acts and practices complained of herein occurred in substantial part in
   19 this District. Stamps’ corporate headquarters are located in this District. Stamps
   20 also conducts substantial business in California sufficient to provide for general
   21 jurisdiction over it in this District.
   22            17.        In connection with the acts alleged in this Complaint, defendants,
   23 directly or indirectly, used the means and instrumentalities of interstate commerce,
   24 including, but not limited to, the mails, interstate telephone communications and the
   25 facilities of the national securities markets.
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    1                                             PARTIES
    2 Plaintiff
    3            18.        Lead Plaintiff Indiana Public Retirement System is among the largest
    4 public pension funds in the United States, with more than $34 billion in assets under
    5 management at fiscal year-end 2018. INPRS serves the needs of approximately
    6 467,332 members and retirees representing more than 1,200 employers, including
    7 public universities, school corporations, municipalities, and state agencies. Lead
    8 Plaintiff INPRS purchased or otherwise acquired Stamps common stock during the
    9 Class Period (as set forth in its previously filed certification) (see ECF No. 30-2),
   10 and was damaged thereby.
   11 Defendants
   12            19.        Defendant Stamps is a provider of Internet-based mailing and shipping
   13 solutions in the United States and Europe. Under the Stamps and Endicia brands,
   14 Stamps’ customers use USPS solutions to mail and ship a variety of mail pieces and
   15 packages through the USPS and customers using Stamps’ solutions receive
   16 discounted postage rates compared to USPS.com and USPS retail locations on
   17 certain mail pieces. Stamps is incorporated in Delaware, with its principal executive
   18 offices located at 1990 E. Grand Avenue, El Segundo, California 90245. Stamps
   19 shares trade on the NASDAQ Stock Market, LLC (“NASDAQ”) under the ticker
   20 symbol “STMP.”
   21            20.        Defendant Kenneth McBride has served as Stamps’ Chairman and CEO
   22 at all relevant times. During the Class Period, McBride also sold 190,585 of his
   23 personally held shares of Stamps stock at artificially inflated prices for proceeds of
   24 approximately $35 million while in possession of material non-public information,
   25 including shares sold contemporaneously with Lead Plaintiff INPRS on December
   26 18, 2017. Defendant McBride made numerous false and misleading statements
   27 during the Class Period.
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     1            21.        Defendant Kyle Huebner has served as Stamps’ President since August
     2 2017. At all relevant times prior to August 2017, Huebner was Stamps’ Co-
     3 President and CFO. During the Class Period, Huebner also sold 52,183 of his
     4 personally held shares of Stamps stock at artificially inflated prices for proceeds of
     5 approximately $10 million while in possession of material non-public information.
     6 Defendant Huebner made false and misleading statements during the Class Period.
     7            22.        Defendant Jeff Carberry has served as Stamps’ CFO since August 2017.
     8 During the Class Period, Carberry also sold 59,583 of his personally held shares of
     9 Stamps stock at artificially inflated prices for proceeds of approximately $13 million
    10 while in possession of material, non-public information. Defendant Carberry made
    11 false and misleading statements during the Class Period.
    12            23.        Defendants McBride, Huebner and Carberry are sometimes collectively
    13 referred to herein as the “Individual Defendants.”
    14                             DEFENDANTS’ RESELLER SCHEME
                                 AND WRONGFUL COURSE OF BUSINESS
    15
                  24.        Under the Stamps.com and Endicia brands, customers use the
    16
         Company’s USPS-approved mailing and shipping solutions to mail and ship
    17
         packages through the USPS. Customers can purchase and print postage twenty-four
    18
         hours a day, seven days a week through software or web interfaces. The Company’s
    19
         solutions allow customers to receive discounts for most USPS mail and packages.
    20
                  25.        Throughout the Class Period, defendants represented that Stamps’
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         revenue and earnings growth was being driven by its strong and mutually beneficial
    22
         partnership with the USPS. The key pillar of this partnership was a revenue sharing
    23
         agreement pursuant to which Stamps served as the official online provider of USPS
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         postage and shipping solutions. This lucrative agreement provided the Company
    25
         with exclusive access to the USPS’s $20 billion postage and delivery market. The
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         USPS, in turn, relied on Stamps to grow the USPS’s sales and provide customers
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         with an accessible online interface.
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     1            26.        During the Class Period, defendants falsely assured the market that the
     2 Company’s strong revenue and profit growth was based on its mutually-beneficial
     3 and stable relationship with the USPS. The relationship between Stamps and the
     4 USPS, however, was built upon a foundation of deception, as Stamps was in the
     5 midst of a reseller scheme that was designed to and did improperly skim USPS
     6 profits in order to artificially inflate Stamps’ reported financial results.             The
     7 undisclosed tension between Stamps and the USPS concerning Stamps’ abuse of the
     8 USPS reseller program ultimately resulted in the USPS terminating Stamps’ highly
     9 profitable business model. Rather than benefiting the USPS, Stamps was competing
    10 against the USPS by illicitly skimming profits associated with purchases by existing
    11 USPS customers.
    12            27.        Notwithstanding the tension in the Stamps-USPS relationship,
    13 defendants told investors that the USPS was pleased with its contractual
    14 arrangements with Stamps, purportedly because Stamps was helping the USPS grow
    15 its business. Stamps’ conduct, however, was harmful to the USPS, and the growth
    16 in USPS business was the result of organic growth in e-commerce shipping.
    17 Ultimately, as a result of the undisclosed conflict between the USPS and Stamps, the
    18 USPS terminated Stamps’ commission-based compensation and restricted its use of
    19 the reseller program. As the truth about Stamps’ abuse of the reseller program and
    20 the impact thereof on Stamps’ operations and prospects reached the market, the
    21 trading price of Stamps shares collapsed.
    22 Stamps’ Improper Manipulation
       of the USPS Reseller Program
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              28. Stamps was initially enlisted in 1999 to bring new large-volume
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       shipping customers to the USPS by offering Commercial Base Pricing that offered
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       a slight discount from retail price postage rates. Thus, when a Stamps customer
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       printed PC postage from its web-based platform, Stamps would receive a
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       commission from the USPS for providing this business. Stamps customers would
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     1 also typically pay a monthly subscription fee for access to PC postage and for access
     2 to any reduced Commercial Base Pricing rates that they received. However, these
     3 commissions and monthly subscription fees could not generate the type of dramatic
     4 revenue growth Stamps posted throughout the Class Period.
     5            29.        Unbeknownst to investors, Stamps’ business model significantly
     6 changed by at least 2017. Stamps had begun directly competing with and improperly
     7 profiting at the expense of the USPS. The Company’s rapid revenue and profit
     8 growth during the Class Period was fueled by its clandestine practice of funneling
     9 existing USPS customers into a program in which they were not authorized to
    10 participate. This allowed Stamps to illicitly capture the spread between what non-
    11 qualifying customers paid for discounted reseller postage and what the USPS was
    12 being paid for that same postage.
    13            30.        Stamps concealed that it was generating a substantial portion of its
    14 Class Period revenue through NSAs that were being manipulated in contravention
    15 of the reseller program. The USPS initiated its NSA program in 2006 to attract new
    16 high-volume business to the USPS in the face of rising competition from FedEx and
    17 UPS. Pursuant to these NSAs, the USPS offers discounted postage rates to qualified
    18 high-volume end users, typically individual companies shipping more than 50,000
    19 items a year. The USPS did not offer discounted postal rates to low-volume
    20 shippers, as they typically send smaller packages and were already incentivized to
    21 ship with the USPS because the USPS offered the lowest rates of all competing
    22 carriers.
    23            31.        In 2009, the USPS created a postage reseller program in an effort to
    24 expand its package shipping business. This reseller program was created after the
    25 international shipping company DHL decided to exit the U.S. market, thereby
    26 presenting the USPS with the opportunity to acquire DHL’s prior U.S. domestic
    27 shipping customers.             Starting in 2009, the USPS granted three intermediary
    28 companies that had historical ties to DHL (i.e., Parcel Partners, Express 1 and
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     1 IntuiShip) the right to receive discounted postage in exchange for business from their
     2 former DHL customers. The intent and purpose of this reseller program was to
     3 acquire new shipping business for the USPS by offering discounted rates to large
     4 volume shippers.
     5            32.        Contrary to the terms of their contractual agreements, Stamps and its
     6 affiliated intermediaries began abusing the NSA and reseller programs as early as
     7 2014 by secretly switching existing USPS customers that had previously paid USPS
     8 retail pricing to discounted pricing under the reseller program, effectively
     9 cannibalizing the USPS’s business so that Stamps could profit from the spread
    10 between the discounted postal rates being paid to the USPS and the rate customers
    11 paid Stamps for that same postage.
    12            33.        To illustrate, if the commercial package base price was $5.00 without
    13 resellers, the USPS would receive the full $5.00 (less a small commission paid to
    14 Stamps pursuant to their exclusive partnership with the USPS). But when the
    15 reseller was inserted into the process, the customer would now pay $4.85, or a
    16 slightly lower price, but now the USPS might only get $4.00 per package and the
    17 reseller would receive the $.85 difference. The reseller – owned by or partnered
    18 with Stamps – would then kick back a large fraction of the $.85 to Stamps as the PC
    19 postage provider. In this way, the reseller program was subverted from one designed
    20 to provide new package business for the USPS to one that had simply increased the
    21 profitability of Stamps and lowered USPS revenues.
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                  34.        As part of its reseller scheme, Stamps also routed existing USPS
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         customers to the Stamps-controlled reseller that had the lowest postage rates with
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         the USPS because this arrangement would provide Stamps with the largest spread
    15
         between what a customer paid Stamps for postage and what a reseller (under its
    16
         NSA) paid the USPS for that same postage. This meant that the USPS would receive
    17
         the least amount of revenue, while Stamps and its reseller partners maximized their
    18
         share of the skimmed profits.
    19
                  35.        During the Class Period, Stamps also shifted existing USPS customers
    20
         to the reseller partner that agreed to give Stamps the largest share of revenue
    21
         collected from the postal rate spread. Due to Stamps’ significant leverage within the
    22
         marketplace, reseller partners would often allocate the lion’s share of skimmed
    23
         profits to Stamps, because Stamps would otherwise shift its large, existing customer
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         base to a competing reseller.
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    14 Defendants’ Reseller Scheme Violated USPS Governance
    15            36.        Defendants’ reseller scheme was inconsistent with and in contravention
    16 of the Postal Accountability and Enhancement Act of 2006 (the “PAEA”), which
    17 governs the USPS’s setting of special pricing under NSAs. The USPS’s use of an
    18 NSA did not give private parties such as Stamps a license to resell USPS discounted
    19 postage to any and all potential shippers without the express consent and
    20 authorization of the USPS. Rather, the PAEA has strict guidelines authorizing which
    21 customers can receive an NSA and under what circumstances it can be used.
    22            37.        The USPS has multiple factors for determining whether a potential
    23 candidate is entitled to NSA special reduced pricing, including: (1) an analysis of
    24 the candidate’s historical data showing the mail volumes and use of specific mail
    25 services or mail piece characteristics; (2) the candidate’s ability to make and present
    26 in an acceptable format accurate forecasts of future mail volumes for USPS product
    27 and services proposed for an NSA; (3) the candidate’s ability to collect necessary
    28 data in an acceptable format to support an NSA; (4) the candidate’s preparation of
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     1 mail using a formal system to ensure proper mail preparation and accurate postage
     2 calculations; and (5) the candidate’s use or planned implementation of certified mail
     3 preparation total quality program to ensure proper mail preparation and to provide
     4 accurate documentation of mailings and postage payment.
     5            38.        Indeed, the conditions and requirements for obtaining an NSA also
     6 provide that an NSA candidate must permit the USPS’s inspection of mail content
     7 to determine price eligibility and must meet and adhere to quality management
     8 standards for classes of mail and prices claimed. Moreover, any counterparty to an
     9 NSA must make available to the USPS necessary records and data related to the
    10 NSA in a form to enable monitoring of compliance with the terms and conditions of
    11 the NSA.
    12            39.        Defendants’ scheme to secretly manipulate the USPS reseller program
    13 by clandestinely offering discounted pricing to small-volume shippers contravened
    14 the USPS’s safeguards outlined above and was designed to and did evade the
    15 USPS’s control over which customers received NSA pricing.
    16            40.        The applicable regulations governing the issuance of an NSA also
    17 provide that, at a minimum, no NSA can have an overall negative financial impact
    18 on the USPS. J.P. Klingenberg, Deputy Director, Office of Accountability and
    19 Compliance, Postal Regulatory Commission, explained to journalists investigating
    20 the reseller program in July 2016 that the USPS would terminate a postage reseller
    21 if it was cannibalizing USPS business and that the USPS could terminate a given
    22 NSA with a reseller with 30-days’ notice to the reseller.
    23 Stamps Embarked on a Rapid Succession
       of Acquisitions to Expand Its Scheme
    24
             41. Key to Stamps’ massive reseller scheme was its use of a web of
    25
       intermediaries to conceal its business model. Stamps achieved this by acquiring or
    26
       otherwise asserting control over a number of multi-carrier platforms. Some of these
    27
       multi-carriers, such as Endicia and ShipStation, related to publicly disclosed
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     1 acquisitions by the Company. Other arrangements, such as those with IntuiShip and
     2 Express 1, have not been publicly detailed by the Company.
     3            42.        Thus, in 2014, Stamps began a rapid succession of acquisitions,
     4 acquiring companies with customer lists that included many existing USPS shippers.
     5 Following the completion of these acquisitions, Stamps converted those existing
     6 USPS customers (without any request or consent) into its reseller program.
     7            43.        In essence, Stamps was purchasing companies such as ShipWorks,
     8 Endicia, ShippingEasy, and ShipStation in order to obtain their respective customer
     9 lists, which included substantial numbers of existing USPS shippers. Stamps was
    10 then taking those existing USPS customers and giving them slight discounts by
    11 running them through the reseller program, pocketing the difference between what
    12 it and its reseller partners paid the USPS. Stamps was authorized to provide
    13 Commercial Base Pricing in order to bring in new high-volume shippers, but Stamps
    14 instead manipulated the reseller program to offer existing USPS shippers the lower
    15 Commercial Plus Pricing, while Stamps (along with its reseller partners) was paying
    16 the USPS substantially lower NSA rates for that postage. In this way, it became very
    17 profitable for Stamps to acquire companies primarily to convert the target
    18 company’s existing USPS customers to the reseller program where Stamps obtained
    19 a majority of the spread (or difference) between what the customer paid and what
    20 the USPS received for postage.
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    13            44.        Defendants’ scheme and wrongful course of business funneled existing
    14 USPS customers into the reseller program (thereby skimming and reducing the
    15 USPS’s postage margins) and artificially boosted Stamps’ profits. Rather than
    16 comporting with the terms of Stamps’ agreements with the USPS and identifying
    17 and selling to customers who were not already shipping with the USPS, defendants
    18 instead determined that it was easier to simply acquire existing companies in the
    19 shipping solutions business because those companies already had existing USPS
    20 customers that could be profitably transitioned to the reseller program.
    21            45.        Following its acquisition of several multi-carrier platforms beginning
    22 in 2Q14, Stamps’ fortunes suddenly reversed. At the same time, the growth in
    23 Stamps’ revenues far outstripped revenue increases at the USPS. Between 2013 and
    24 2017, Stamps’ revenues increased from $128 million to $469 million, a 266%
    25 increase. By comparison, during this same time frame, USPS revenues increased by
    26 only 3%.
    27
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     1 Former Stamps Employees Have
       Corroborated Defendants’ Reseller Scheme
     2
              46. Former Stamps employees have corroborated the essential facts of
     3
       defendants’ reseller scheme whereby Stamps has been profiting at the expense of the
     4
       USPS by effectively stealing the USPS’s customers and business. For example, a
     5
       former Stamps Account Manager, who was employed by the Company from
     6
       February 2017 to September 2018 in the Mountain View, California office,
     7
       confirmed that the Company gave discounted package rates to customers through its
     8
       Stamps account and also through its multi-carrier platform, in this case ShipStation.
     9
       According to this former employee, while customers needed to meet certain volume
    10
       thresholds to qualify for the reseller discounted rate through Stamps (usually 50,000
    11
       “priority mailings” per year), anyone could get the discount by using the ShipStation
    12
       platform, even if they would not qualify for the USPS reseller discounted rates.
    13
              47. In addition, while these customers needed USPS approval to get the
    14
       discounted rate through Stamps, Stamps used ShipStation to provide the discount
    15
       without USPS approval. This former employee stated that shortly after he began
    16
       working with the Company he was instructed to persuade some 2,000 existing
    17
       Stamps clients to switch to the ShipStation service – confirming that significant
    18
       cannibalization of the USPS (rather than customer growth) served as the key driver
    19
       of the Company’s revenue growth. The Stamps Account Manager also confirmed
    20
       that many clients received the preferred discounted rate, referred to internally as the
    21
       Company’s “special sauce,” through ShipStation, even though they did not meet the
    22
       USPS’s minimum volume requirements.
    23
              48. Another former Stamps Field Sales Representative, who was originally
    24
       employed by Endicia and remained with the Company post-acquisition until May
    25
       2019 in predominately the Ohio and Pennsylvania markets, also confirmed that the
    26
       USPS had definitely (“absolutely”) been upset “for a few years” with
    27
       Stamps/Endicia for making available discounted postal rates for customers that did
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     1 not individually meet the USPS’s annual shipping requirements that would make
     2 them eligible for the discounted rates. This former employee reiterated that USPS’s
     3 unhappiness “goes to the top” because the USPS was “losing revenue” by Stamps’
     4 practices of using reseller partner NSAs to extend discounts to customers that would
     5 not individually qualify for the discounts.
     6            49.        Another former Stamps Field Sales Representative, who was originally
     7 employed by the USPS for 36 years and joined the Company in March 2014 through
     8 October 2018 in predominately the Midwest markets, also confirmed that certain
     9 USPS teams and District Managers would frequently express their displeasure to
    10 Stamps/Endicia sales representatives concerning the Company’s manipulative
    11 practices of offering reseller NSA discounts to existing customers of the USPS who
    12 did not otherwise qualify for such prices. This former employee and the other field
    13 sales personnel would in turn inform their own District Managers of these events
    14 and request guidance for handling the complaints of the USPS personnel. According
    15 to this former employee, the response they were given by their superiors up the chain
    16 of command was to continue with business as usual, despite the fact that these
    17 practices “didn’t go over well” with the USPS.
    18            50.        Finally, another former Stamps Account Manager, who was employed
    19 by the Company from October 2017 to February 2019 in the East Region office,
    20 further confirmed that the Company gave discounted postal rates to customers who
    21 were “not fully authorized by the USPS.” According to this former employee,
    22 Stamps account personnel were instructed by their managers to “keep [the USPS] in
    23 the dark” regarding certain discounted postal rates because “we could get in trouble
    24 if we tell [the USPS] too much.” This former employee was further told by the
    25 Company’s National Sales Manager (Candi Booth) that at Stamps “[w]e don’t rat on
    26 one another.” Although this former employee followed Booth’s directives, the
    27 former Stamps Account Manager felt this conduct “was wrong” and expressed these
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     1 concerns to “upper management” during this former employee’s tenure with the
     2 Company.
     3 Defendants’ Reseller Scheme Draws
       Governmental and Public Scrutiny
     4
               51. Prior to the Class Period, the USPS began investigating certain
     5
       resellers’ activities to determine whether they were cannibalizing existing USPS
     6
       business. In 2016, as part of its investigation, the USPS targeted Stamps and its
     7
       affiliates, threatening to pull Stamps’ PC postage printing license if it was
     8
       established that Stamps was engaging in a continuing practice of converting existing
     9
       USPS customers to its reseller program, thereby cannibalizing existing USPS
    10
       business.
    11
               52. The USPS was particularly focused on Stamps affiliate/partner and
    12
       postage reseller IntuiShip, along with its third-party sales affiliate, Move Method.
    13
       Move Method was already under USPS scrutiny for funneling existing USPS
    14
       customers through IntuiShip’s reseller NSA. This scrutiny was reflected in a series
    15
       of communications beginning on February 10, 2016, when Doreen Rathburn,
    16
       Business Alliances Manager at the USPS, sent an internal email concerning potential
    17
       cannibalization of existing USPS customers, stating: “They clearly know where I
    18
       stand on cannibalizing existing business and have stated that was not the intent here.”
    19
       Immediately thereafter, Robert Ross (“Ross”), co-founder of IntuiShip, confirmed
    20
       with the USPS that IntuiShip was committed to preventing this practice from
    21
       recurring.
    22
               53. On August 2, 2016, Cliff Rucker (“Rucker”), Vice President of Sales at
    23
       the USPS, sent a letter to Ross of IntuiShip regarding the USPS’s investigation into
    24
       the potential misuse of IntuiShip’s NSA in a manner that cannibalized existing USPS
    25
       business. The letter concluded by stating: “If it is determined that this is the case,
    26
       your NSA is subject to termination due to violation of the agreed upon terms of the
    27
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     1 agreement. Please respond within seven days of the date of this letter with an
     2 explanation as to a remedy for this situation.”
     3            54.        Stamps also became aware that the USPS was scrutinizing IntuiShip
     4 and Move Method for abuse of the reseller program because Stamps personnel,
     5 Candi Booth (“Booth”) and Amine Khechfe (“Khechfe”) – both of whom worked at
     6 Endicia – received copies of the USPS investigative letters that objected to IntuiShip
     7 using the reseller program to service existing USPS customers. Indeed, on July 16,
     8 2016, Rucker sent an email to Stamps/Endicia executives Booth and Khechfe
     9 alerting them that USPS personnel (Ken Baily, Brian Denneny and Dennis Nicoski)
    10 were being instructed to investigate Move Method again cannibalizing USPS
    11 business under the reseller program, and that the USPS was prepared to send a “letter
    12 to cancel the contract.”
    13            55.        In January 2017, President Donald J. Trump was inaugurated and the
    14 Executive Branch’s oversight of the USPS became even more focused on the
    15 financial solvency of the government postal provider.4 Specifically, President
    16 Trump held the view that certain private companies, such as Stamps, had been taking
    17 unfair advantage of the USPS and that these detrimental business practices were
    18 going to be examined immediately.
    19            56.        As the Individual Defendants understood from their communications
    20 with the USPS, and as they attempted to renegotiate existing contractual
    21 arrangements, the USPS was no longer willing to accept economically unfavorable
    22 (and improper) business relationships with private parties. Throughout this period,
    23 defendants assured investors that Stamps’ business model was strong and that the
    24 USPS was pleased with its existing relationship with Stamps. The truth was quite
    25
    26
    27   4
            The USPS operates at the direction, and with the oversight, of the Executive
         Branch of the U.S. Government.
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     1 different, as the USPS had rejected Stamps’ reseller scheme and it was in the process
     2 of terminating critical aspects of its existing business relationship with Stamps.
     3            57.        Stamps was in regular contact with the USPS during the Class Period
     4 regarding its contractual requirements. Defendants understood certain adverse
     5 changes were coming and would soon be applied to Stamps’ existing USPS reseller
     6 contracts/agreements. Starting in the first half of 2017, the USPS began revising its
     7 existing NSAs (which are subject to periodic/annual renewal) in a manner that was
     8 designed to limit and restrict the ability of Stamps to misuse the reseller program.
     9 As part of its newly implemented process, the USPS required written permission
    10 before a reseller could transition any client to a shipping program that utilized an
    11 NSA that provided postage rates below Commercial Plus Pricing.
    12            58.        Moreover, just after the start of the Class Period, Stamps received an
    13 August 2017 letter from its reseller partner, Parcel Partner, which disclosed the
    14 USPS’s position and new restrictions designed to reign in abuse of the reseller
    15 program. As Parcel Partner’s letter stated:
    16            Hi Partner;
    17                       The time has come, we knew the USPS Reseller Model would
    18            be changing, that is why we provided you with as much insight as we
    19            had into the changes last April. The Post Office has decided to initiate
    20            the changes now (see attachment). The letter has some significant
    21            changes but nothing that has not already been discussed. We knew
    22            they were concerned about short pays and Resellers not having direct
    23            relationships with shippers. They have structured the program in a
    24            way to accomplish both. The direct relationship will allow us to assist
    25            more actively on abusers of short pays. The USPS has always seen the
    26            Shipper to be the customer of whoever’s contract they are shipping
    27            on . . . .
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     1                       Therefore, the USPS is requiring we take more responsibility
     2            and have a direct relationship with the shipper. We have always taken
     3            this responsibility upon ourselves and assisted The USPS with analytics
     4            and forecasting in the industry . . . .
     5                       Our relationship is stronger than ever with the USPS which is
     6            why we are prepared for this announcement. Jared and Casey will be
     7            traveling to Washington to have more discussions at the highest levels
     8            about some of the ambiguity (example: what defines the last 12
     9            months . . . purchasing a stamp or a box?) in the amendment and
    10            strategize with them as we consistently do.
    11                       These Postal changes have brought us to a crossroads. We can
    12            partner together or you can find another option . . . .
    13                       Alternatively, if our partnership were to part ways the exposure
    14            is decreased referrals fees and competition from competitors with more
    15            capital. The recent USPS changes have changed the landscape.
    16            These changes position the PC Postage providers in different
    17            position. We can continue to partner together to protect the customers
    18            base and continue to grow or you can venture on your own. Should
    19            you choose to continue our partnership, we will need your assistance
    20            to help us collect the additional data required of shippers “Third
    21            Party” data.
    22            59.        Thus, based on their communications with the USPS and with Stamps’
    23 reseller partners, defendants were aware by the start of the Class Period that the
    24 USPS was in the process of tightening and restricting the reseller program so as to
    25 require resellers to maintain the proper documentation for all shippers, thereby
    26 allowing the USPS to monitor, police, and stop the abuses that were resulting from
    27 Stamps’ improper scheme of converting low-volume existing USPS customers to its
    28 reseller program.
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     1            60.        Defendants were aware that Stamps’ manipulative scheme could not
     2 continue indefinitely because, as Stamps switched more and more customers to its
     3 multi-carrier platforms, it resulted in substantially discounted pricing being paid to
     4 the USPS for purchases that had previously been completed at retail pricing.
     5            61.        In an effort to avoid public scrutiny, Stamps actively concealed key
     6 information regarding its business operations and specifically how Stamps was
     7 profiting at the expense of the USPS. On February 22, 2018, analysts at Craig-
     8 Hallum issued a report noting that “Management has taken a number of steps
     9 recently that have reduced the detail of information provided to investors, including
    10 business metrics, acquisitions, and organic growth.” For example, the Company
    11 declined to break out the proportion of its revenues earned through the reseller
    12 program, but instead lumped such revenue together with other revenue earned
    13 through the Company’s revenue-sharing agreement with the USPS.
    14            62.        Defendants repeatedly told investors throughout the Class Period that
    15 the USPS was pleased with its contractual relationship with Stamps because Stamps
    16 had been growing USPS’s business every year. However, during the 2013-2018
    17 time period, e-commerce grew at approximately 15% annually, including from $390
    18 billion in 2016 to $453 billion in 2017 to $517 billion in 2018. This growth in e-
    19 commerce generated more than $100 billion of organic growth between 2016 and
    20 2018 in the shipping of e-commerce packages. Because the USPS generally offers
    21 the lowest shipping rates for small parcels, the USPS would have naturally benefited
    22 from this growth in shipping, notwithstanding any purported contributions by
    23 Stamps.
    24            63.        Stamps’ continued abuse of the reseller program contributed to growing
    25 losses at the USPS and helped undermine the long-term financial viability of the
    26 agency. In April 2018, a governmental Task Force was established to evaluate the
    27 USPS’s operations and finances. The Task Force Report confirmed that the USPS
    28 was forecasted to lose tens of billions of dollars over the next decade, listing “product
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     1 pricing” among the primary reasons for the deterioration in the USPS’s financial
     2 condition. Two months after this report was released, Stamps finally revealed the
     3 true state of its relationship with the USPS when it announced the end of its USPS
     4 partnership. The timing of the dissolution and the conclusions in the Task Force
     5 Report further reflect that the USPS had been unhappy with its relationship with
     6 Stamps because of the Company’s practice of profiting at the expense of the USPS.
     7            64.        Finally, on May 8, 2019, Stamps revealed publicly the extent and
     8 impact of defendants’ wrongdoing on Stamps and its operations, revealing that, in
     9 addition to the loss of the exclusive commission business, the USPS was also
    10 restricting and terminating certain NSA contracts with the Company’s reseller
    11 partners and, thus, that Stamps’ expected future earnings would be substantially
    12 reduced.
    13                               DEFENDANTS’ FALSE AND
                               MISLEADING CLASS PERIOD STATEMENTS
    14
                  65.        Throughout the Class Period, defendants touted the Company’s strong
    15
         financial performance, including revenue and earnings growth, while concealing that
    16
         these financial metrics were the product of an unsustainable and improper reseller
    17
         scheme to inflate Stamps’ financial results at the expense and to the detriment of the
    18
         USPS.
    19
                  66.        On May 3, 2017, the start of the Class Period, defendants issued a
    20
         release announcing Stamps’ 1Q17 financial results. The release stated:
    21
                             “We are very pleased with our continued strong revenue and
    22
                  earnings growth this quarter,” said Ken McBride, Stamps.com’s
    23
                  chairman and CEO. “In addition to our overall revenue and earnings
    24
                  growth, during the first quarter we reached our highest level of paid
    25
                  customers, we saw continued strong growth in our shipping business
    26
                  areas, and we experienced strong contributions from all of our
    27
                  subsidiaries. We remain very excited about our future prospects and,
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     1            combined with our first quarter performance, led us to increase our
     2            guidance for 2017.”
     3            67.        The release also reported the following 1Q17 financial results:
     4                       First quarter 2017 total revenue was $105.0 million, up 28%
     5            compared to the first quarter of 2016. First quarter 2017 Mailing and
     6            Shipping revenue (which includes service, product and insurance
     7            revenue but excludes Customized Postage and Other revenue) was
     8            $102.6 million, up 30% versus the first quarter of 2016. First quarter
     9            2017 Customized Postage revenue was $2.4 million, down 7% versus
    10            the first quarter of 2016.
    11                       First quarter 2017 GAAP income from operations was $34.6
    12            million and GAAP net income was $33.1 million. GAAP net income
    13            per share was $1.82 based on 18.2 million fully diluted shares
    14            outstanding. This compares to first quarter 2016 GAAP income from
    15            operations of $22.2 million and GAAP net income of $13.2 million or
    16            $0.71 per share based on fully diluted shares outstanding of 18.7
    17            million. First quarter 2017 GAAP income from operations, GAAP net
    18            income and GAAP income per fully diluted share increased by 56%,
    19            150% and 157% year-over- year, respectively.
    20            68.        During the 1Q17 conference call, CEO McBride stated:
    21                       In 2017, we plan to increase, optimize and refine our enterprise
    22            customer lead generation and sales and marketing efforts. Let me talk
    23            a little bit about the USPS. The USPS has always been one of our
    24            most important partners. We both have the common goal of growing
    25            USPS package volume and serving and retaining USPS customers.
    26            We’ve made significant investments in creating, developing and
    27            growing the online Mailing and Shipping category since 1999. To date,
    28            we’ve invested more than $1.5 billion in customer service and support,
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     1            research and development, sales and marketing, technology,
     2            infrastructure, product development and other areas in support of
     3            helping the USPS grow their business and retain customers. We have
     4            generated over $30 billion in cumulative postage printed through all of
     5            our brands since the industry first began in 1999, including over $5.5
     6            billion last year in 2016. Last year, the USPS reported 16% growth in
     7            its shipping and package revenue for 2016. The overall package
     8            industry, on the other hand, grew only 8% domestically when adding
     9            together the domestic shipping revenue of the big 3 carriers, which are
    10            the vast majority of the industry. So the USPS is growing 2x faster than
    11            the overall industry and they’re gaining significant market share versus
    12            of the private carriers. They’re generating their extraordinary growth
    13            and market share gains by growing in e-commerce, which of course, is
    14            the key battleground in shipping right now. It sets them up well for the
    15            future. We continue to enjoy a great partnership with USPS and feel
    16            that we have created a sustainable win-win model for both of us,
    17            which will result in the continued growth of USPS packages, in e-
    18            commerce and more generally. As you would expect, given the
    19            extraordinary growth they’re generating, the USPS is very happy with
    20            their overall strategies, their partnerships and the business models they
    21            are pursuing in shipping. In particular, the USPS is very happy with
    22            the very successful partnership Stamps.com has together with the
    23            Postal Service, and that’s based on very recent ongoing conversations
    24            we have with the most senior executive there.
    25            69.        In response to an analyst question on the 1Q17 conference call
    26 concerning “the economics of the relationships you have, whether it’s with the USPS
    27 or other partners, that would prompt some conservatism on guidance,” McBride
    28 further reassured investors, stating:
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     1            There’s nothing to point to, specifically. And of course, we wouldn’t
     2            be disclosing specifics of the partnerships, but it’s just the same
     3            approach we’ve taken in years past and we don’t really expect any
     4            material changes to any kind of the underlying economics or the
     5            revenue share agreements that we have.
     6            70.        On the same call, in response to analyst questions concerning the
     7 Company’s relationship with the USPS and whether the “USPS had sent a letter
     8 around to the participants in the reseller program with some potential changes,”
     9 McBride further stated:
    10                       There was no letter. The rumor is false. I mean, I think I tried to
    11            point out some of the broad – the broad global understanding of what
    12            the USPS and the partnerships they’ve done and the revenue share
    13            they’ve offered out to us and the reseller and the e-commerce industry,
    14            in general. And I think that one of the key things to focus on is are they
    15            being successful or not? And therefore, are they going to make changes
    16            or not? And when you look at the big numbers, I mentioned they’re
    17            growing at 16% last year. They’re outgrowing the industry by 2x. And
    18            so, USPS is having a ton of success in e-commerce, particularly. And
    19            so, in their shoes, you’ve got to ask yourself would you make a major
    20            change when you’re growing twice the industry rate. They’re very
    21            happy with how things have gone, the revenue shares they’ve offered
    22            to the industry, to e-commerce, have generated a lot of activity focused
    23            on them. They’re winning the e-commerce marketplace and they’re
    24            being very successful doing it. USPS is very happy with the approach
    25            they’ve taken and business model. They’re very happy with the
    26            relationship with Stamps.com. We talk to them constantly, to the most
    27            senior folks there. So we’re happy and they’re happy. And what the
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     1            letter information that’s been propagated, we believe is part of the
     2            strategy with our stock. So it’s not true.
     3            71.        The statements in ¶¶66-70 above were each false and misleading when
     4 made. The true facts, which were then known to, or recklessly disregarded by, the
     5 Individual Defendants based upon their access to and review of internal Company
     6 information, were:
     7                       (a)   that Stamps was not generating “‘continued strong growth in [its]
     8 shipping business,’” nor was it “‘experienc[ing] strong contributions from all of [its]
     9 subsidiaries,’” rather, Stamps was engaged in a secret, unsustainable reseller scheme
    10 to bundle small-volume shippers and skim profits from the USPS;
    11                       (b)   that Stamps was not in a “great partnership with USPS” nor were
    12 Stamps’ business practices a “sustainable win-win model,” rather, the USPS was
    13 opposed to Stamps’ actions, as they violated both the terms and the spirit of the
    14 parties’ contractual agreements;
    15                       (c)   that the USPS was not “very happy with” Stamps, its “approach”
    16 or its “business model,” nor were Stamps and the USPS working in a “very
    17 successful partnership” together. In fact, by the start of the Class Period, defendants
    18 were engaged in a wrongful course of business whereby Stamps, in contravention of
    19 USPS governance, was cannibalizing existing USPS customers and skimming
    20 profits from the USPS, which practices were adversely impacting the USPS;
    21                       (d)   that by April 2017, Stamps’ reseller partner, Parcel Partners,
    22 communicated to Stamps that the USPS was implementing new changes to NSAs
    23 that would have a dramatic adverse impact on the profits captured by Stamps’
    24 reseller scheme;
    25                       (e)   that the Company’s strong financial results were entirely
    26 dependent on the manipulation of a USPS reseller program that improperly benefited
    27 Stamps at the expense of the USPS, which was losing an estimated $235 million per
    28 year as a result of defendants’ misuse of the reseller program;
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     1                       (f)   that Stamps’ relationship with the USPS had soured prior to the
     2 Class Period, and in fact, between 2014 and 2017, USPS teams and District
     3 Managers had repeatedly expressed their displeasure to Stamps/Endicia sales
     4 representatives concerning the Company’s manipulative practice of offering reseller
     5 NSA discounts to existing USPS customers that did not otherwise qualify for such
     6 pricing;
     7                       (g)   that, without obtaining the required approval of the USPS and in
     8 contravention of the PAEA and the applicable NSA terms, Stamps was using its
     9 ShipStation and Endicia platforms in its West Coast and Midwest operations to
    10 clandestinely aggregate customer purchases so as to provide customers with
    11 discounted package rates without regard to whether those customers actually
    12 satisfied the applicable minimum volume thresholds;
    13                       (h)   that Stamps Account Managers were instructed to apply what the
    14 Company euphemistically dubbed its “special sauce,” that is, the inducement of
    15 existing Stamps customers to secretly switch to the Company’s ShipStation service
    16 – conduct that was designed to and did cause a dramatic short-term spike in Stamps’
    17 revenue and earnings by cannibalizing USPS existing revenue;
    18                       (i)   that the vast majority of growth in USPS revenue during the
    19 Class Period was the result of organic growth in e-commerce shipping and had no
    20 correlation with Stamps’ purported contributions;
    21                       (j)   that Stamps’ reseller scheme represented a significant financial
    22 risk to Stamps’ lucrative exclusive partnership and contractual NSAs with the USPS;
    23 and
    24                       (k)   that, as a result of (a)-(j) above, defendants had no reasonable
    25 basis to expect and did not expect Stamps’ revenue and earnings growth to continue,
    26 because Stamps could not continue the illicit reseller scheme detailed in ¶¶24-64
    27 herein.
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     1            72.        On August 2, 2017, defendants issued a release announcing Stamps’
     2 2Q17 financial results. The release stated:
     3                       We are very pleased with the continued strength of our financial
     4            performance this quarter,” said Ken McBride, Stamps.com’s Chairman
     5            and CEO. “In addition to our strong revenue and earnings growth
     6            during the second quarter, we reached our highest level of paid
     7            customers and average revenue per paid customer, we saw continued
     8            strong growth in our shipping business areas, and we experienced
     9            strong contributions from all of our subsidiaries. We remain very
    10            excited about our future business opportunities which, combined with
    11            our second quarter performance, led us to increase our guidance for
    12            2017.
    13            73.        The release also reported the following 2Q17 financial results:
    14                       Second quarter 2017 total revenue was $116.1 million, up 38%
    15            compared to the second quarter of 2016. Second quarter 2017 Mailing
    16            and Shipping revenue (which includes service, product and insurance
    17            revenue but excludes Customized Postage and Other revenue) was
    18            $111.8 million, up 37% versus the second quarter of 2016. Second
    19            quarter 2017 Customized Postage revenue was $4.3 million, up 73%
    20            versus the second quarter of 2016.
    21                       Second quarter 2017 GAAP income from operations was $41.7
    22            million and GAAP net income was $31.0 million. GAAP net income
    23            per share was $1.71 based on 18.1 million fully diluted shares
    24            outstanding. This compares to second quarter 2016 GAAP income
    25            from operations of $25.0 million and GAAP net income of $14.3
    26            million or $0.79 per share based on fully diluted shares outstanding of
    27            18.2 million. Second quarter 2017 GAAP income from operations,
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     1            GAAP net income and GAAP income per fully diluted share increased
     2            by 67%, 117% and 118% year-over-year, respectively.
     3            74.        During the 2Q17 conference call, CEO McBride stated the following
     4 concerning the Company’s relationship with the USPS:
     5                       Resellers are important both for keeping existing business and
     6            for growing new business. You have people that are shipping through
     7            the reseller channel. It works for the USPS. And if they aren’t shipping
     8            with the USPS, going after some of that business also works for the
     9            USPS. The USPS have to continue to serve customers and to find new
    10            customers.
    11                       The reseller business is growing to the tune that the USPS
    12            reseller program is and is providing solutions downmarket where the
    13            USPS doesn’t have the sales team to interact. The USPS doesn’t see
    14            any reason why the program wouldn’t continue to serve both
    15            customers and the needs of the Postal Service going forward.
    16                       Finally, the USPS looked at resellers and PC postage providers
    17            like Stamps.com and Endicia as excellent partners on bringing the
    18            best solutions to customers.
    19            We continue to enjoy a great partnership with the Postal Service and
    20            feel that we have created a sustainable win-win model for both of us,
    21            which will result in a continued growth of USPS packages and e-
    22            commerce and online postage more generally.
    23                                            *     *      *
    24            [T]he partnership with the Postal Service is continuing to be stronger
    25            and stronger and some of the – we have multiple contracts and various
    26            partnerships with the Postal Service. And so in this case, we were able
    27            to get a couple of our contracts renewed at improved terms. So we were
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     1            just trying to give people an insight to the relationship with the Postal
     2            Service continues to get healthier and healthier.
     3            75.        On the same call, President Huebner stated the following concerning
     4 the Company’s relationship with the USPS:
     5            Yes, I would just say, I mean, we’ve been saying over the last year that
     6            it’s a win-win partnership. And so the more successful we both are in
     7            helping the USPS compete, then I think that benefits both of us, and so
     8            I think it was really meant to highlight the win-win nature of the
     9            partnership and how both sides are succeeding.
    10            76.        On the same call, CFO Carberry stated the following concerning the
    11 Company’s 2Q17 revenue and current projections:
    12                       Total revenue was $116.1 million in Q2, and that was up 38%
    13            year-over-year versus Q2 of ‘16. The strong growth in Q2 revenue was
    14            partially attributable to the renewal, with improved economics, of 2 of
    15            our agreements with the Postal Service.
    16                                           *     *      *
    17            We’re really looking at potentially accessing a larger parcel market.
    18            We’re primarily a USPS shipper today, but as we look out there and the
    19            multicarrier opportunity, it’s a much larger market. The domestic
    20            market for the top 3 carriers is about $90 billion. So I think there’s lots
    21            of opportunity for us to grow in all those different areas, and we feel
    22            comfortable with our 20% projection over the next 5 years.
    23            77.        The statements in ¶¶72-76 above were each false and misleading when
    24 made. The true facts, which were then known to, or recklessly disregarded by, the
    25 Individual Defendants based upon their access to and review of internal Company
    26 information, were:
    27                       (a)   that Stamps and the USPS were not in “a sustainable win-win
    28 model” and the relationship between the two was neither “get[ting] healthier and
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     1 healthier,” nor was it “continu[ing] to be a stronger and stronger” relationship. In
     2 fact, by 2Q17, Stamps and its affiliates were anything but “excellent partners”
     3 bringing the best solutions. Rather, Stamps was actively engaged in its deceptive
     4 reseller scheme to bundle small-volume shippers and skim profits from the USPS;
     5                       (b)   that the Company’s strong financial results were entirely
     6 dependent on the manipulation of a USPS reseller program that improperly benefited
     7 Stamps at the expense of the USPS, which was losing an estimated $235 million
     8 annually as a result of defendants’ misuse of the reseller program;
     9                       (c)   that Stamps’ improper reseller scheme inflated its reported
    10 revenue and earnings while concealing that its strong revenue and earnings growth
    11 was unsustainable because the Company’s reseller scheme was damaging to USPS
    12 profitability and violated both the terms and the spirit of the parties’ contractual
    13 agreements;
    14                       (d)   that Stamps’ relationship with the USPS had in fact soured prior
    15 to the Class Period, as USPS teams and District Managers repeatedly expressed their
    16 displeasure to Stamps/Endicia sales representatives between 2014 and 2017 about
    17 the Company’s manipulative practice of offering reseller NSA discounts to existing
    18 USPS customers that did not otherwise qualify for such pricing;
    19                       (e)   that, without obtaining the required approval of the USPS and in
    20 contravention of the PAEA and the applicable NSA terms, Stamps was using its
    21 ShipStation and Endicia platforms in its West Coast and Midwest operations to
    22 clandestinely aggregate customer purchases so as to provide customers with
    23 discounted package rates without regard to whether those customers actually
    24 satisfied the applicable minimum volume thresholds;
    25                       (f)   that Stamps Account Managers were instructed to apply what the
    26 Company euphemistically dubbed its “special sauce,” that is, the inducement of
    27 existing Stamps customers to secretly switch to the Company’s ShipStation service,
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     1 which conduct was designed to and did cause a dramatic short-term spike in Stamps’
     2 revenue and earnings by cannibalizing USPS existing revenue;
     3                       (g)   that Stamps was not bringing a meaningful amount of new
     4 business to the USPS, but instead was cannibalizing the USPS’s existing customers
     5 by secretly aggregating and bundling them together so that they appeared to be
     6 higher volume shippers under NSAs with Stamps and entities it controlled;
     7                       (h)   that the vast majority of growth in USPS revenue during the
     8 Class Period was the result of organic growth in e-commerce shipping and had no
     9 correlation with Stamps’ purported contributions;
    10                       (i)   that rather than “creat[ing] value for the USPS,” Stamps was
    11 improperly profiting from its abuse of the reseller program, which contributed to
    12 hundreds of millions of dollars in losses suffered by the USPS;
    13                       (j)   that Stamps’ reseller scheme represented a significant financial
    14 risk to Stamps’ lucrative exclusive partnership and contractual NSAs with the USPS;
    15                       (k)   that defendant Carberry had no reasonable basis to believe and
    16 did not believe that Stamps could generate 20% growth in revenue over the next 5
    17 years absent a continuation of the wrongful conduct detailed in ¶¶24-64 herein; and
    18                       (l)   that, as a result of (a)-(k) above, defendants had no reasonable
    19 basis to expect and did not expect Stamps’ revenue and earnings growth to continue
    20 indefinitely because Stamps would not be able to continue the illicit reseller scheme
    21 detailed in ¶¶24-64 herein.
    22            78.        On November 6, 2017, Stamps issued a release announcing its 3Q17
    23 financial results. The release stated:
    24                       “We are very pleased with our third quarter financial
    25            performance,” said Ken McBride, Stamps.com’s Chairman and CEO.
    26            “We achieved strong performance in our financial and customer
    27            metrics in a quarter that is both seasonally slower and one in which we
    28            saw the anniversary of our most recent acquisition. Our shipping
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     1            business continues to drive our solid top line results and strong
     2            margin profile through contributions from each of our shipping
     3            subsidiaries. We believe we are well positioned as we enter the
     4            seasonally strong fourth quarter and we remain very excited about
     5            our long-term business opportunities.”
     6            79.        The release also reported the following 3Q17 financial results:
     7                       Third quarter 2017 total revenue was $115.1 million, up 24%
     8            compared to the third quarter of 2016. Third quarter 2017 Mailing and
     9            Shipping revenue (which includes service, product and insurance
    10            revenue but excludes Customized Postage and Other revenue) was
    11            $106.5 million, up 21% versus the third quarter of 2016. Third quarter
    12            2017 Customized Postage revenue was $8.6 million, up 75% versus the
    13            third quarter of 2016.
    14                       Third quarter 2017 GAAP income from operations was $35.7
    15            million and GAAP net income was $46.2 million. GAAP net income
    16            per share was $2.49 based on 18.5 million fully diluted shares
    17            outstanding. This compares to third quarter 2016 GAAP income from
    18            operations of $31.6 million and GAAP net income of $18.7 million or
    19            $1.03 per share based on 18.1 million fully diluted shares outstanding.
    20            Third quarter 2017 GAAP income from operations, GAAP net income
    21            and GAAP income per fully diluted share increased by 13%, 148% and
    22            142% year-over-year, respectively.
    23            80.        During the 3Q17 conference call, CEO McBride stated:
    24            I think from a competitive perspective, we continue to see USPS as very
    25            competitive, particularly in the segments where they are strong.
    26            They’re very strong in e-commerce, very strong in residential delivery,
    27            and then very strong in smaller packages. So – and I think we’re
    28            pleased to see the continued trend on the USPS. As you know, we
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     1            succeed when they succeed. So we were happy with the percentages
     2            we saw.
     3            81.        On February 22, 2018, Stamps issued a release announcing its 4Q17
     4 and FY17 financial results. The release stated:
     5            “We are pleased with our fourth quarter and fiscal 2017 financial
     6            performance,” said Ken McBride, Stamps.com’s Chairman and CEO.
     7            “We achieved strong financial results driven by exceptional
     8            performance in our shipping business.            We believe we are well
     9            positioned for 2018 and we remain excited about our long-term
    10            business opportunities.”
    11            82.        The release also reported the following 4Q17 financial results:
    12                       Fourth quarter 2017 total revenue was $132.5 million, up 25%
    13            compared to the fourth quarter of 2016. Fourth quarter 2017 Mailing
    14            and Shipping revenue (which includes service, product and insurance
    15            revenue but excludes Customized Postage and Other revenue) was
    16            $128.5 million, up 26% versus the fourth quarter of 2016. Fourth
    17            quarter 2017 Customized Postage revenue was $3.9 million, up 9%
    18            versus the fourth quarter of 2016.
    19                       Fourth quarter 2017 GAAP income from operations was $51.5
    20            million, GAAP net income was $40.2 million and GAAP net income
    21            per share was $2.15 based on 18.7 million fully diluted shares
    22            outstanding. This compares to fourth quarter 2016 GAAP income from
    23            operations of $41.4 million, GAAP net income of $29.0 million and
    24            GAAP net income per share of $1.61 based on 18.0 million fully diluted
    25            shares outstanding.         Fourth quarter 2017 GAAP income from
    26            operations, GAAP net income and GAAP income per fully diluted
    27            share increased by 24%, 38% and 34% year-over-year, respectively.
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     1            83.        The statements in ¶¶78-82 above were each false and misleading when
     2 made. The true facts, which were then known to, or recklessly disregarded by, the
     3 Individual Defendants based upon their access to and review of internal Company
     4 information, were:
     5                       (a)   that the Company’s strong 3Q17, 4Q17 and FY17 financial
     6 results were entirely dependent on the manipulation of a USPS reseller program that
     7 improperly benefited Stamps at the expense of the USPS, which was losing an
     8 estimated $235 million per year as a result of defendants’ misuse of the reseller
     9 program;
    10                       (b)   that, rather than creating a “sustainable win-win model,” Stamps
    11 was improperly profiting from its abuse of the reseller program, which contributed
    12 to hundreds of millions of dollars in losses suffered by the USPS;
    13                       (c)   that Stamps was not “well positioned for 2018,” but rather, its
    14 most important long-term business opportunity was unraveling, as the USPS had in
    15 fact rejected Stamps’ reseller business model and was in the process of terminating
    16 critical aspects of its existing business relationship with Stamps;
    17                       (d)   that Stamps’ misuse of the reseller program inflated its reported
    18 revenue and earnings while concealing that its strong revenue and earnings growth
    19 was unsustainable because the Company’s reseller scheme was damaging USPS
    20 profitability and the USPS was opposed to Stamps’ actions, as they violated both the
    21 terms and the spirit of the parties’ contractual agreements;
    22                       (e)   that Stamps’ relationship with the USPS had in fact soured prior
    23 to the Class Period, as USPS teams and District Managers repeatedly expressed their
    24 displeasure to Stamps/Endicia sales representatives between 2014 and 2017 about
    25 the Company’s manipulative practice of offering reseller NSA discounts to existing
    26 USPS customers that did not otherwise qualify for such pricing;
    27                       (f)   that, without obtaining the required approval of the USPS and in
    28 contravention of the PAEA and the applicable NSA terms, Stamps was using its
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     1 ShipStation and Endicia platforms in its West Coast and Midwest operations to
     2 clandestinely aggregate customer purchases so as to provide customers with
     3 discounted package rates without regard to whether those customers actually
     4 satisfied the applicable minimum volume thresholds;
     5                       (g)   that, notwithstanding several warnings by the USPS, Stamps
     6 district managers were directed by National Sales Manager Booth to continue
     7 Stamps’ existing illicit business practices;
     8                       (h)   that Stamps was not generating a meaningful amount of new
     9 business to the USPS, but instead was cannibalizing the USPS’s existing customers
    10 by secretly aggregating and bundling them together so that they appeared to be
    11 higher volume shippers under NSAs with Stamps and entities it controlled;
    12                       (i)   that Stamps’ reseller scheme represented a significant financial
    13 risk to Stamps’ lucrative exclusive partnership and contractual arrangements with
    14 the USPS; and
    15                       (j)   that, as a result of (a)-(i) above, defendants had no reasonable
    16 basis to expect and did not expect Stamps’ revenue and earnings growth to continue
    17 indefinitely because Stamps would not be able to continue the illicit reseller scheme
    18 detailed in ¶¶24-64 herein.
    19            84.        On May 3, 2018, Stamps issued a release announcing its 1Q18 financial
    20 results. The release stated:
    21                       “We were very pleased with our first quarter performance,” said
    22            Ken McBride, Stamps.com’s Chairman and CEO.                 “We achieved
    23            strong growth driven by continued success in the shipping area of our
    24            business. We are continuing to execute on our 2018 strategic plans and
    25            we remain excited about our long-term business opportunities.”
    26            85.        The release also reported the following 1Q18 financial results:
    27                       First quarter 2018 total revenue was $133.6 million, up 27%
    28            compared to the first quarter of 2017. First quarter 2018 Mailing and
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     1            Shipping revenue (which includes service, product and insurance
     2            revenue but excludes Customized Postage and Other revenue) was
     3            $131.0 million, up 28% versus the first quarter of 2017. First quarter
     4            2018 Customized Postage revenue was $2.6 million, up 6% versus the
     5            first quarter of 2017.
     6                       First quarter 2018 GAAP income from operations was $49.2
     7            million, GAAP net income was $47.0 million and GAAP net income
     8            per share was $2.54 based on 18.5 million fully diluted shares
     9            outstanding. This compares to first quarter 2017 GAAP income from
    10            operations of $34.6 million, GAAP net income of $33.1 million and
    11            GAAP net income per share of $1.82 based on 18.2 million fully diluted
    12            shares outstanding. First quarter 2018 GAAP income from operations,
    13            GAAP net income, and GAAP income per fully diluted share increased
    14            by 42%, 42% and 39% year-over-year, respectively.
    15            86.        During the 1Q18 conference call, President Huebner stated:
    16            [W]e continue to focus on how to create value for the USPS, how to
    17            help them be successful in the e-commerce package market. And so
    18            to the extent that we are successful in creating value and helping the
    19            USPS be successful in that part of the market, then those create the type
    20            of long-term partnership opportunities that we’ve seen over the past
    21            decade.
    22            87.        On August 2, 2018, Stamps issued a release announcing its 2Q18
    23 financial results. The release stated:
    24                       “We were very pleased with our acquisition of MetaPack and
    25            with our second quarter performance,” said Ken McBride,
    26            Stamps.com’s Chairman and CEO. “Our growth continues to be
    27            driven by success in the shipping area of our business.             With
    28            MetaPack we will be able to accelerate our focus on international
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     1            expansion, and will be in a much better position to address the global
     2            e-commerce shipping industry. We are continuing to execute on our
     3            operational and strategic plans and we are excited about our long-
     4            term business opportunities.”
     5            88.        The release also reported the following 2Q18 financial results:
     6                       Second quarter 2018 total revenue was $139.6 million, up 20%
     7            compared to the second quarter of 2017. Second quarter 2018 Mailing
     8            and Shipping revenue (which includes service, product and insurance
     9            revenue but excludes Customized Postage and Other revenue) was
    10            $134.4 million, up 20% versus the second quarter of 2017. Second
    11            quarter 2018 Customized Postage revenue was $5.2 million, up 22%
    12            versus the second quarter of 2017.
    13                       Second quarter 2018 GAAP income from operations was $46.9
    14            million, GAAP net income was $45.5 million, and GAAP net income
    15            per share was $2.41 based on 18.9 million fully diluted shares
    16            outstanding. This compares to second quarter 2017 GAAP income
    17            from operations of $41.7 million, GAAP net income of $31.0 million
    18            and GAAP net income per share of $1.71 based on 18.1 million fully
    19            diluted shares outstanding. Second quarter 2018 GAAP income from
    20            operations, GAAP net income, and GAAP income per fully diluted
    21            share increased by 12%, 47% and 41% year-over-year, respectively.
    22            89.        During the 2Q18 conference call, CEO McBride stated the following in
    23 response to analyst questions concerning the USPS Task Force investigation and
    24 impending report:
    25            The final [Task Force] report is expected to be issued August 10. We
    26            don’t know the specifics in the report. But we do think that based on
    27            our conversations that the report will come out strongly in favor of
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     1            the partnerships between the USPS and private industry like the
     2            partnerships we’ve had with the USPS.
     3            90.        On October 31, 2018, Stamps issued a release announcing its 3Q18
     4 financial results. The release stated:
     5            “We are very pleased with our third quarter financial performance and
     6            with the successful closing of our acquisition of MetaPack,” said Ken
     7            McBride, Stamps.com’s Chairman and CEO. “We achieved strong
     8            organic performance in our financial metrics in a traditionally
     9            seasonally slower period. Our shipping business continues to drive
    10            our solid results through contributions from each of our shipping
    11            subsidiaries. We believe we are well positioned as we enter the
    12            seasonally strong fourth quarter and we remain very excited about
    13            our long-term business opportunities.”
    14            91.        The release also reported the following 3Q18 financial results:
    15                       Third quarter 2018 total revenue was $143.5 million, up 25%
    16            compared to the third quarter of 2017. Third quarter 2018 Mailing and
    17            Shipping revenue (which includes service, product and insurance
    18            revenue but excludes Customized Postage and Other revenue) was
    19            $136.5 million, up 28% versus the third quarter of 2017. Third quarter
    20            2018 Customized Postage revenue was $7.0 million, down 19% versus
    21            the third quarter of 2017.
    22                       Third quarter 2018 GAAP income from operations was $44.3
    23            million, GAAP net income was $33.4 million, and GAAP net income
    24            per share was $1.75 based on 19.0 million fully diluted shares
    25            outstanding. This compares to third quarter 2017 GAAP income from
    26            operations of $35.7 million, GAAP net income of $46.2 million and
    27            GAAP net income per share of $2.49 based on 18.5 million fully diluted
    28            shares outstanding. Third quarter 2018 GAAP income from operations
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     1            increased by 24%, and GAAP net income and GAAP income per fully
     2            diluted share decreased by 28% and 30% year-over-year, respectively.
     3            92.        During the 3Q18 conference call, CEO McBride stated the following in
     4 response to analyst questions concerning the USPS Task Force investigation and
     5 impending report:
     6            [W]e would have no reason to believe that the USPS is not generally
     7            meeting its obligations regarding the NSA program. We would further
     8            expect that any commentary on the report on postal partnerships would
     9            reflect the very positive effect of partnerships like ours have had on
    10            growth in the USPS’ package volumes.
    11                                            *     *      *
    12                       On the final issue of the negotiations of important agreements
    13            with the USPS, we would note the following general points.
    14            Historically, we have had a significant number of agreements with the
    15            USPS, and we have negotiated those agreements many times. These
    16            types of negotiations are very common for us. Negotiations with the
    17            USPS often take many months to finalize. The USPS has many
    18            competing priorities, and the process just takes time. In general, we
    19            expect that updates to our agreements with the USPS will continue to
    20            reflect the critical role that we play in their e-commerce package
    21            business, including that we have the largest private sales force
    22            focused on driving USPS growth. We process more than 1/3 of their
    23            Priority Mail volume in the U.S. And working hand-in-hand with the
    24            USPS through our partnership, we have contributed to a significant
    25            portion of overall USPS e-commerce package growth over the past 5
    26            years.
    27                                            *     *      *
    28
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     1            I think when we look at the various reports that are out there, the
     2            conversations we’ve had with folks that are working on these reports,
     3            the general view is the idea of USPS increasingly embracing
     4            partnerships like ours makes a ton of sense for them.
     5            93.        The statements in ¶¶84-92 above were each false and misleading when
     6 made. The true facts, which were then known to, or recklessly disregarded by, the
     7 Individual Defendants based upon their access to and review of internal Company
     8 information, were:
     9                       (a)   that the Company’s strong 1Q18, 2Q18 and 3Q18 financial
    10 results were entirely dependent on the manipulation of a USPS reseller program that
    11 improperly benefited Stamps at the expense of the USPS, which was losing an
    12 estimated $235 million per year as a result of defendants’ misuse of the reseller
    13 program;
    14                       (b)   that Stamps’ use of this improper reseller scheme inflated its
    15 reported revenue and earnings while concealing that the strong revenue and earnings
    16 growth it was reporting was unsustainable because the Company’s reseller scheme
    17 was damaging to USPS profitability and violated both the terms and the spirit of the
    18 parties’ contractual agreements;
    19                       (c)   that Stamps concealed the truth about its reseller scheme and
    20 instead repeatedly publicly represented that its purportedly strong financial
    21 performance was the result of the Company’s strong relationship with the USPS;
    22                       (d)   that Stamps’ relationship with the USPS had in fact soured prior
    23 to the Class Period, as USPS teams and District Managers repeatedly expressed their
    24 displeasure to Stamps/Endicia sales representatives between 2014 and 2017 about
    25 the Company’s manipulative practice of offering reseller NSA discounts to existing
    26 USPS customers that did not otherwise qualify for such prices;
    27                       (e)   that, without obtaining the required approval of the USPS and in
    28 contravention of the PAEA and the applicable NSA terms, Stamps was using its
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     1 ShipStation and Endicia platforms in its West Coast and Midwest operations to
     2 clandestinely aggregate customer purchases so as to provide customers with
     3 discounted package rates without regard to whether those customers actually
     4 satisfied the applicable minimum volume thresholds;
     5                       (f)   that Stamps Account Managers were instructed to apply what the
     6 Company euphemistically dubbed its “special sauce,” that is, the inducement of
     7 thousands of existing Stamps customers to secretly switch to the Company’s
     8 ShipStation service, which conduct was designed to and did cause a dramatic short-
     9 term spike in Stamps’ revenue and earnings by cannibalizing USPS existing
    10 revenue;
    11                       (g)   that, notwithstanding several warnings in 2017 and 2018, Stamps
    12 district managers were directed by National Sales Manager Booth to continue
    13 Stamps’ existing illicit business practices;
    14                       (h)   that Stamps was not generating a meaningful amount of new
    15 business for the USPS, but instead was cannibalizing existing USPS customers by
    16 secretly aggregating and bundling them together so that they appeared to be higher
    17 volume shippers;
    18                       (i)   that the vast majority of growth in USPS revenue during the
    19 Class Period was the result of organic growth in e-commerce shipping and had no
    20 correlation with Stamps’ purported contributions;
    21                       (j)   that, rather than “creat[ing] value for the USPS,” Stamps was
    22 improperly profiting from its abuse of the reseller program, which contributed to
    23 hundreds of millions of dollars in losses suffered by the USPS;
    24                       (k)   that Stamps’ reseller scheme represented a significant financial
    25 risk to Stamps’ lucrative exclusive partnership and contractual arrangements with
    26 the USPS;
    27                       (l)   that Stamps was not well positioned for 2019, but rather its most
    28 important long-term business opportunity was unraveling, as the USPS had in fact
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     1 rejected Stamps’ reseller business model and was in the process of terminating
     2 critical aspects of its existing business relationship with Stamps; and
     3                       (m)   that, as a result of (a)-(l) above, defendants had no reasonable
     4 basis to expect and did not expect Stamps’ revenue and earnings growth to continue
     5 into FY19, because Stamps would not be able to continue the illicit reseller scheme
     6 detailed in ¶¶24-64 herein.
     7            94.        On February 21, 2019, after the market closed, Stamps held a
     8 conference call to discuss its 2018 financial results as well as its business outlook
     9 and “certain strategic items . . . that impact our business outlook for 2019.” On the
    10 call, Stamps’ CEO McBride falsely represented that the Company had been the one
    11 that “decided to discontinue [its] shipping partnership with the USPS so that [it
    12 could] fully embrace partnerships with other carriers who . . . will be well positioned
    13 to win in the shipping business in the next 5 years.” The revelation stunned the
    14 market, which attempted to process the inexplicable announcement that the
    15 Company was simply walking away from a business relationship that had accounted
    16 for a significant portion of the Company’s revenue.
    17            95.        Subsequently, on February 26, 2019, the market was further perplexed
    18 by reports in The American Conservative that, contrary to McBride’s February 21,
    19 2019 representation, it was the USPS that had decided to terminate its relationship
    20 with Stamps in the face of the Company’s abuse of the reseller program.
    21            96.        Despite the Company’s assurances of “short term pain” to the investing
    22 public, the worst was not over for Stamps shareholders, as the stock continued to
    23 trade at artificially inflated prices as defendants continued to conceal the truth about
    24 the Company’s unsustainable reseller scheme.
    25            97.        On May 8, 2019, Stamps further shocked investors by slashing its profit
    26 outlook for the full year, further fueling investor concerns about its ability to protect
    27 margins in the absence of a key partnership with the USPS. Stamps attributed the
    28 lowered guidance to potential unfavorable short- and long-term amendments,
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     1 renegotiations, and termination of certain NSA contracts between the USPS and the
     2 Company’s reseller partners – which defendants had known about and anticipated
     3 since the start of the Class Period, despite falsely telling investors that they “very
     4 recently bec[a]me aware” of these adverse conditions that would have a negative
     5 impact on the Company’s financials. The Company further stated that it now
     6 expected an FY19 profit of $3.35 to $4.85 per share, down from its prior estimate of
     7 $5.15 to $6.15 per share.
     8                       ADDITIONAL SCIENTER ALLEGATIONS
     9 Stamps Insiders’ $230 Million Worth of Insider Trading
       Further Supports Scienter
    10
              98. While defendants engaged in their scheme to defraud investors during
    11
       the Class Period by inflating the Company’s revenue through abusive reseller
    12
       practices, Individual Defendants McBride, Huebner, and Carberry, along with other
    13
       Company insiders, sold significant amounts of Stamps shares at artificially inflated
    14
       prices. In total, Stamps insiders dumped over a million shares of stock during the
    15
       Class Period for proceeds of over $230 million. The sales are summarized in the
    16
       following chart:
    17
             Stamps.com (STMP)          5/1/17 - 3/10/19 Insider Sales Summary
    18
    19 Filer Name Transaction                       Shares                       % of
                            Date        Price         Sold     Proceeds          Total
    20                                                                         Holdings
        Ananda         6/16/2017      $144.45      3,914     $565,377
    21  (Mohan)
        Director       6/16/2017      $146.33      4,410     $645,315
    22                 6/16/2017      $147.08      6,586     $968,669
    23                 6/16/2017      $142.10      15,200    $2,159,920
                       6/16/2017      $145.31      9,890     $1,437,116
    24
                       8/11/2017      $210.45      1,875     $394,594
    25                 8/11/2017      $209.47      2,694     $564,312
    26                 8/11/2017      $207.30      19,358    $4,012,913
                       8/11/2017      $208.20      6,073     $1,264,399
    27                 8/14/2017      $212.67      1,275     $271,154
    28                 8/14/2017      $213.49      138       $29,462
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     1                                                                          % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds     Total
     2                                                                         Holdings
     3                       8/14/2017   $211.10       3,948     $833,423
                             8/14/2017   $211.71       4,639     $982,123
     4                       2/26/2018   $203.18       1,000     $203,180
     5                       6/12/2018   $270.00       20,000    $5,400,000
                             3/6/2019    $93.32        1,000     $93,320
     6                                                 102,000   $19,825,277   13.8%
     7    Biswas     9/11/2017           $190.24       9,057     $1,723,004
          (Michael
     8    John)
          Chief      9/11/2017           $191.05       3,609     $689,499
     9    Technology
          Officer
    10               9/11/2017           $193.92       2,050     $397,536
    11               9/11/2017           $194.92       319       $62,179
                     9/11/2017           $192.30       10,841    $2,084,724
    12
                     9/11/2017           $193.06       13,226    $2,553,412
    13               9/13/2017           $201.68       10,428    $2,103,119
                     9/13/2017           $202.20       11,440    $2,313,168
    14
                     9/13/2017           $200.16       15,382    $3,078,861
    15               9/13/2017           $203.15       250       $50,788
    16               9/20/2017           $210.05       4,327     $908,886
                     9/21/2017           $210.00       6,081     $1,277,010
    17               9/22/2017           $211.15       6,116     $1,291,393
    18               9/22/2017           $210.27       20,976    $4,410,624
                     10/23/2017          $225.00       400       $90,000
    19               10/24/2017          $227.64       2,228     $507,182
    20               10/24/2017          $229.71       12,356    $2,838,297
                     10/24/2017          $230.37       9,213     $2,122,399
    21               10/24/2017          $228.30       2,391     $545,865
    22               10/24/2017          $225.05       1,400     $315,070
                     10/24/2017          $226.55       1,300     $294,515
    23
                                                       143,390   $29,657,531   99.8%
    24    Bortnak            5/24/2017   $129.93       200       $25,986
          (James)
    25    Co-                5/24/2017   $128.85       300       $38,655
          President
    26
                             5/24/2017   $126.95       100       $12,695
    27                       5/24/2017   $132.05       1,456     $192,265
    28                       5/24/2017   $133.08       1,094     $145,590
                                                   - 48 -
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     1                                                                         % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds    Total
     2                                                                        Holdings
     3                       5/24/2017   $131.01       850       $111,359
                             6/26/2017   $151.34       1,800     $272,412
     4                       6/26/2017   $149.36       1,500     $224,040
     5                       6/26/2017   $150.44       700       $105,308
                             7/24/2017   $151.89       2,700     $410,103
     6                       7/24/2017   $149.91       700       $104,937
     7                       7/24/2017   $150.73       600       $90,438
                                                       12,000    $1,733,787   85.8%
     8    Buerba      9/11/2017          $193.33       10,331    $1,997,292
     9    (Sebastian)
          Chief       9/11/2017          $191.18       4,638     $886,693
    10    Marketing
          Officer
    11                9/11/2017          $194.19       1,300     $252,447
    12                9/11/2017          $190.26       10,843    $2,062,989
                      9/11/2017          $192.54       17,143    $3,300,713
    13                10/24/2017         $230.22       16,552    $3,810,601
    14                10/25/2017         $230.01       3,348     $770,073
                      10/25/2017         $231.20       100       $23,120
    15                2/27/2018          $200.00       200       $40,000
    16                2/27/2018          $196.50       2,019     $396,734
                      2/27/2018          $199.23       1,989     $396,268
    17
                      2/27/2018          $193.58       7,167     $1,387,388
    18                2/27/2018          $194.56       7,270     $1,414,451
                      2/27/2018          $195.53       11,314    $2,212,226
    19
                      2/27/2018          $197.87       608       $120,305
    20                3/1/2018           $187.12       1,100     $205,832
    21                3/1/2018           $192.12       1,584     $304,318
                      3/1/2018           $190.10       1,803     $342,750
    22                3/1/2018           $191.00       2,500     $477,500
    23                3/1/2018           $188.09       2,700     $507,843
                      3/1/2018           $189.01       4,201     $794,031
    24                3/2/2018           $200.01       4,638     $927,646
    25                3/7/2018           $201.65       200       $40,330
                      3/7/2018           $200.10       8,061     $1,613,006
    26                3/8/2018           $200.00       2,280     $456,000
    27                3/8/2018           $200.75       1,900     $381,425
                      3/8/2018           $201.68       3,795     $765,376
    28
                                                   - 49 -
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     1                                                                         % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds    Total
     2                                                                        Holdings
     3                       3/9/2018    $203.13       3,637     $738,784
                             3/9/2018    $205.40       2,401     $493,165
     4                       3/9/2018    $204.14       1,800     $367,452
     5                       3/9/2018    $206.08       1,185     $244,205
                             3/9/2018    $200.23       500       $100,115
     6                       3/9/2018    $201.45       100       $20,145
     7                       6/11/2018   $265.17       1,619     $429,310
                             6/11/2018   $267.94       2,799     $749,964
     8                       6/11/2018   $267.01       9,684     $2,585,725
     9                       6/11/2018   $265.94       3,675     $977,330
                             6/12/2018   $272.25       738       $200,921
    10
                             6/12/2018   $267.81       662       $177,290
    11                       6/12/2018   $271.70       500       $135,850
                             6/12/2018   $269.31       400       $107,724
    12
                             6/12/2018   $270.40       200       $54,080
    13                       7/2/2018    $247.65       200       $49,530
    14                       7/2/2018    $249.40       100       $24,940
                             7/2/2018    $253.51       211       $53,491
    15                       7/2/2018    $255.98       429       $109,815
    16                       7/2/2018    $251.93       528       $133,019
                             7/2/2018    $255.17       531       $135,495
    17                       7/2/2018    $250.94       500       $125,470
    18                       8/1/2018    $258.73       1,001     $258,989
                             8/1/2018    $261.34       850       $222,139
    19                       8/1/2018    $259.62       550       $142,791
    20                       8/1/2018    $257.25       100       $25,725
                             9/4/2018    $247.89       730       $180,960
    21
                             9/4/2018    $249.85       50        $12,493
    22                       9/4/2018    $246.79       400       $98,716
                             9/4/2018    $248.83       383       $95,302
    23
                             9/4/2018    $251.27       150       $37,691
    24                       9/4/2018    $253.40       136       $34,462
    25                       9/4/2018    $252.94       650       $164,411
                             10/1/2018   $223.68       450       $100,656
    26                       10/1/2018   $221.52       400       $88,608
    27                       10/1/2018   $222.48       350       $77,868
                             10/1/2018   $219.36       251       $55,059
    28
                                                   - 50 -
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     1                                                                           % of
          Filer Name Transaction
                        Date               Price         Shares
                                                          Sold      Proceeds     Total
     2                                                                          Holdings
     3                       10/1/2018    $225.03       250       $56,258
                             10/1/2018    $220.38       500       $110,190
     4                       10/1/2018    $225.99       300       $67,797
     5                                                  169,484   $35,731,293   99.85%
          Carberry           10/23/2017   $225.00       7,346     $1,652,850
     6    (Jeffrey)
          CFO                10/24/2017   $225.02       52,237    $11,754,370
     7
                                                        59,583    $13,407,220   47.3%
     8    Clem (John 6/7/2017             $144.00       6,170     $888,480
          Roland)
     9    Chief      9/20/2017            $210.04       2,500     $525,100
    10    Product &
          Strategy
    11    Officer
                     9/21/2017            $210.00       3,200     $672,000
    12               9/22/2017            $210.10       3,020     $634,502
    13               9/22/2017            $211.14       1,280     $270,259
                     10/3/2017            $220.00       500       $110,000
    14               10/4/2017            $220.00       300       $66,000
    15               10/11/2017           $220.27       3,037     $668,960
                     10/11/2017           $221.22       435       $96,231
    16               10/12/2017           $220.29       1,300     $286,377
    17               10/12/2017           $222.77       2,582     $575,192
                     10/12/2017           $221.58       600       $132,948
    18
                     10/12/2017           $223.66       1,246     $278,680
    19               10/24/2017           $230.20       8,410     $1,935,982
                     10/25/2017           $230.02       1,590     $365,732
    20
                     5/4/2018             $240.20       200       $48,040
    21               5/7/2018             $242.33       310       $75,122
    22               5/7/2018             $241.64       900       $217,476
                     5/7/2018             $240.23       8,590     $2,063,576
    23               5/14/2018            $250.20       3,500     $875,700
    24               5/14/2018            $251.10       200       $50,220
                     5/21/2018            $250.14       2,200     $550,308
    25               5/29/2018            $251.24       150       $37,686
    26               5/29/2018            $250.15       3,899     $975,335
                     5/30/2018            $250.90       51        $12,796
    27               6/1/2018             $261.20       200       $52,240
    28               6/1/2018             $260.08       6,014     $1,564,121
                                                    - 51 -
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     1                                                                          % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds     Total
     2                                                                         Holdings
     3                       6/4/2018    $260.00       1,320     $343,200
                             6/5/2018    $260.42       588       $153,127
     4                       6/5/2018    $261.90       428       $112,093
     5                       6/6/2018    $262.59       266       $69,849
                             6/6/2018    $261.78       841       $220,157
     6                       6/6/2018    $260.80       343       $89,454
     7                       6/12/2018   $271.70       1,885     $512,155
                             6/12/2018   $272.27       3,602     $980,717
     8                       6/12/2018   $270.08       4,513     $1,218,871
     9                       6/14/2018   $281.71       2,230     $628,213
                             6/14/2018   $280.01       1,400     $392,014
    10
                             6/14/2018   $282.60       200       $56,520
    11                                                 80,000    $18,805,433   51.6%
          Huebner            3/5/2018    $195.32       5,567     $1,087,346
    12    (Kyle)
    13    President &        3/5/2018    $196.24       7,469     $1,465,717
          CFO
    14                       3/5/2018    $194.28       18,359    $3,566,787
    15                       3/5/2018    $197.38       1,820     $359,232
                             3/5/2018    $198.43       1,000     $198,430
    16                       3/5/2018    $193.37       3,386     $654,751
    17                       3/7/2018    $200.12       5,661     $1,132,879
                             3/8/2018    $202.45       200       $40,490
    18                       3/8/2018    $201.59       2,200     $443,498
    19                       3/8/2018    $200.14       2,408     $481,937
                             3/9/2018    $203.35       1,313     $266,999
    20                       3/9/2018    $205.77       1,100     $226,347
    21                       3/9/2018    $204.47       800       $163,576
                             3/9/2018    $200.33       700       $140,231
    22
                             3/9/2018    $202.80       200       $40,560
    23                                                 52,183    $10,268,779   83.4%
          Jones              8/7/2017    $205.40       6,880     $1,413,152
    24    (Bradford)
    25    Director           8/7/2017    $207.45       6,500     $1,348,425
                             8/7/2017    $206.48       3,820     $788,754
    26                       8/7/2017    $216.03       7,000     $1,512,210
    27                       8/7/2017    $204.67       2,800     $573,076
                             6/1/2018    $260.24       4,700     $1,223,128
    28
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     1                                                                         % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds    Total
     2                                                                        Holdings
     3                       6/1/2018    $261.41       5,300     $1,385,473
                                                       37,000    $8,244,218   34.5%
     4    Khechfe            5/4/2017    $120.00       2,400     $288,000
          (Amine)
     5
          Chief              6/1/2017    $137.85       1,200     $165,420
     6    Strategy
          Officer
     7                       7/3/2017    $155.15       1,200     $186,180
                             8/1/2017    $149.05       1,200     $178,860
     8
                             9/1/2017    $191.25       1,200     $229,500
     9                       10/2/2017   $202.90       1,200     $243,480
    10                       11/1/2017   $226.65       1,200     $271,980
                             12/1/2017   $167.40       1,200     $200,880
    11                       1/2/2018    $188.25       1,200     $225,900
    12                       2/1/2018    $202.05       1,200     $242,460
                             3/1/2018    $191.35       1,200     $229,620
    13                       4/2/2018    $199.55       1,200     $239,460
    14                       5/1/2018    $226.00       1,200     $271,200
                             6/1/2018    $253.00       6,200     $1,568,600
    15                       7/2/2018    $249.35       1,200     $299,220
    16                       8/1/2018    $262.80       1,200     $315,360
                             9/4/2018    $248.15       1,200     $297,780
    17
                             10/1/2018   $226.66       1,200     $271,992
    18                       11/1/2018   $186.24       1,200     $223,488
                             1/2/2019    $152.45       1,200     $182,940
    19
                             2/1/2019    $185.15       1,200     $222,180
    20                       2/15/2019   $200.00       11,100    $2,220,000
    21                       2/15/2019   $200.07       100       $20,007
                                                       42,600    $8,594,507   99.1%
    22    Lipson             1/16/2018   $194.76       500       $97,380
          (Matthew
    23    A.)
    24    Chief Legal        1/16/2018   $192.99       400       $77,196
          Officer
    25                       1/16/2018   $185.70       700       $129,990
                             1/16/2018   $192.52       1,000     $192,520
    26
                             1/16/2018   $189.11       1,359     $257,000
    27                       1/16/2018   $187.13       2,130     $398,587
    28                       1/16/2018   $187.98       2,302     $432,730
                                                   - 53 -
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     1                                                                          % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds     Total
     2                                                                         Holdings
     3                       1/16/2018   $190.24       2,435     $463,234
                             1/16/2018   $191.19       1,000     $191,190
     4                       2/15/2018   $190.33       135       $25,695
     5                       2/15/2018   $188.58       1,000     $188,580
                             2/15/2018   $189.53       1,500     $284,295
     6                       2/15/2018   $187.39       3,902     $731,196
     7                       2/15/2018   $185.21       1,500     $277,815
                             2/15/2018   $186.53       1,963     $366,158
     8                       3/15/2018   $197.82       3,434     $679,314
     9                       3/15/2018   $201.62       536       $108,068
                             3/15/2018   $200.88       2,014     $404,572
    10
                             3/15/2018   $198.74       1,216     $241,668
    11                       3/15/2018   $199.93       2,800     $559,804
                             4/16/2018   $202.87       2,737     $555,255
    12
                             4/16/2018   $205.93       1,600     $329,488
    13                       4/16/2018   $201.76       1,320     $266,323
    14                       4/16/2018   $205.22       1,317     $270,275
                             4/16/2018   $203.86       500       $101,930
    15                       4/16/2018   $206.93       1,200     $248,316
    16                       4/16/2018   $207.74       500       $103,870
                             5/15/2018   $243.80       1,281     $312,308
    17                                                 42,281    $8,294,758    98.2%
    18    McBride    11/27/2017          $180.01       141,733   $25,513,357
          (Kenneth)
    19    Chairman & 11/28/2017          $180.59       400       $72,236
          CEO
    20               12/18/2017          $183.52       2,443     $448,339
    21               12/18/2017          $182.48       3,012     $549,630
                     12/18/2017          $184.10       172       $31,665
    22
                     12/18/2017          $180.00       400       $72,000
    23               12/18/2017          $181.54       2,088     $379,056
                     3/2/2018            $200.01       6,362     $1,272,464
    24
                     3/7/2018            $201.45       100       $20,145
    25               3/7/2018            $200.14       9,254     $1,852,096
    26               3/7/2018            $201.35       127       $25,571
                     3/8/2018            $201.64       5,500     $1,109,020
    27               3/8/2018            $202.27       409       $82,728
    28               3/8/2018            $200.22       4,528     $906,596
                                                   - 54 -
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     1                                                                          % of
          Filer Name Transaction
                        Date              Price         Shares
                                                         Sold      Proceeds     Total
     2                                                                         Holdings
     3                       3/9/2018    $203.13       5,236     $1,063,589
                             3/9/2018    $205.99       2,814     $579,656
     4                       3/9/2018    $205.18       2,704     $554,807
     5                       3/9/2018    $204.10       2,603     $531,272
                             3/9/2018    $200.21       700       $140,147
     6                                                 190,585   $35,204,374   58.2%
     7    Miller             8/24/2017   $194.75       1,000     $194,750
          (Lloyd
     8    Ivan III)
          Director           8/25/2017   $194.72       35,983    $7,006,610
     9                       8/25/2017   $194.72       19,376    $3,772,895
    10                       8/28/2017   $190.63       12,889    $2,457,030
                             8/28/2017   $190.63       6,941     $1,323,163
    11
                             8/29/2017   $192.53       6,128     $1,179,824
    12                       8/29/2017   $192.53       2,989     $575,472
                             8/30/2017   $194.67       25,000    $4,866,750
    13
                             8/30/2017   $195.21       1,000     $195,210
    14                       8/30/2017   $194.67       2,000     $389,340
    15                       8/31/2017   $191.32       11,000    $2,104,520
                             8/31/2017   $191.32       11,000    $2,104,520
    16                       9/1/2017    $192.95       9,000     $1,736,550
    17                       9/1/2017    $192.95       9,000     $1,736,550
                             9/7/2017    $189.00       25,000    $4,725,000
    18                                                 178,306   $34,368,183   93.2%
    19    Weisberg           5/25/2017   $140.11       500       $70,055
          (Seth
    20    David)
          Chief Legal        5/26/2017   $140.33       4,219     $592,052
    21    Officer
    22                       5/26/2017   $141.24       281       $39,688
                             6/19/2017   $150.15       5,000     $750,750
    23                       8/3/2017    $180.00       200       $36,000
    24                       8/3/2017    $202.20       1,425     $288,135
                             8/3/2017    $203.80       100       $20,380
    25                       8/3/2017    $179.00       100       $17,900
    26                       8/3/2017    $183.90       300       $55,170
                             8/3/2017    $186.80       300       $56,040
    27                       8/3/2017    $189.15       300       $56,745
    28                       8/3/2017    $190.25       550       $104,638
                                                   - 55 -
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     1                                                                                     % of
          Filer Name Transaction
                        Date                    Price        Shares
                                                              Sold        Proceeds         Total
     2                                                                                    Holdings
     3                         8/3/2017       $199.92       5,600       $1,119,552
                               8/3/2017       $197.77       2,880       $569,578
     4                         8/3/2017       $198.73       2,372       $471,388
     5                         8/3/2017       $196.68       2,200       $432,696
                               8/3/2017       $193.36       1,900       $367,384
     6                         8/3/2017       $194.53       1,750       $340,428
     7                         8/3/2017       $195.68       1,520       $297,434
                               8/3/2017       $200.79       800         $160,632
     8                         8/3/2017       $206.06       600         $123,636
     9                         8/3/2017       $191.57       900         $172,413
                               8/3/2017       $204.54       1,203       $246,062
    10
                                                            35,000      $6,388,754      60.8%
    11    Grand                                             1,144,412   $230,524,113
          Total
    12
                  99.        Further, the insider sales were unusual compared to the prior trading
    13
         history for James Bortnak, John Clem, Huebner, Bradford Jones, McBride, and Seth
    14
         Weisberg. The following chart shows these same individuals’ insider sales in the
    15
         two years prior to the Class Period:
    16
                  Stamps.com (STMP)             5/1/15 – 5/1/17       Insider Sales Summary
    17
    18        Filer Name Transaction    Price                      Shares            Proceeds
                             Date                                    Sold
    19    Bortnak (James 5/26/2015   $68.94                       12,500       $861,750
          M)
    20                   11/6/2015   $100.24                      9,985        $1,000,896
    21                   11/23/2015  $101.05                      5,000        $505,250
                         11/25/2015  $101.77                      5,000        $508,850
    22
                         12/23/2015  $111.96                      5,000        $559,800
    23                   1/25/2016   $94.57                       4,985        $471,431
                         2/24/2016   $91.76                       5,000        $458,800
    24
                         3/24/2016   $107.62                      5,000        $538,100
    25                   4/25/2016   $93.87                       5,000        $469,350
    26                   5/24/2016   $83.97                       5,000        $419,850
                         6/24/2016   $86.30                       5,000        $431,500
    27                   7/25/2016   $78.99                       5,000        $394,950
    28                   8/24/2016   $93.75                       5,000        $468,750
                                                        - 56 -
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     1                       Transaction                 Shares
               Filer Name        Date        Price        Sold          Proceeds
     2                       9/26/2016     $94.53      5,000       $472,650
     3                       10/24/2016    $94.54      5,000       $472,700
                             11/25/2016    $113.29     5,000       $566,450
     4
                             12/23/2016    $115.34     5,000       $576,700
     5                       1/24/2017     $120.84     4,985       $602,387
                             2/24/2017     $131.59     5,000       $657,950
     6
                             3/24/2017     $117.42     2,592       $304,353
     7                       3/24/2017     $116.58     1,600       $186,528
     8                       3/24/2017     $118.27     808         $95,562
                             4/24/2017     $112.38     1,375       $154,523
     9                       4/24/2017     $111.47     2,009       $223,943
    10                       4/24/2017     $110.53     800         $88,424
                                                       116,639     $11,491,448
    11       Clem (John      5/13/2015     $70.34      587         $41,290
             Roland)
    12
                             5/14/2015     $70.38      5,893       $414,749
    13                       5/15/2015     $69.75      1,999       $139,430
    14                       5/15/2015     $70.00      1,488       $104,160
                             3/16/2017     $132.74     2,402       $318,841
    15                       3/16/2017     $130.71     709         $92,673
    16                       3/16/2017     $131.59     6,301       $829,149
                                                       19,379      $1,940,293
    17       Huebner (Kyle)5 2/16/2017     $130.66     3,000       $391,980
    18                       2/17/2017     $130.76     7,000       $915,320
                             3/14/2017     $130.34     10,871      $1,416,926
    19                       3/14/2017     $129.57     16,363      $2,120,154
    20                       3/14/2017     $127.71     4,800       $613,008
                             3/14/2017     $128.35     17,966      $2,305,936
    21
                             3/15/2017     $130.68     6,536       $854,124
    22                       3/15/2017     $129.62     2,933       $380,175
                             3/15/2017     $131.44     17,234      $2,265,237
    23
                             3/15/2017     $132.29     12,013      $1,589,200
    24                       3/15/2017     $133.23     11,284      $1,503,367
    25                       3/16/2017     $132.94     5,634       $748,984
                             3/16/2017     $131.20     15,752      $2,066,662
    26
    27   5
            Prior to his 2017 sales, defendant Huebner had not sold Company stock since
         2013.
    28
                                             - 57 -
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     1                        Transaction                   Shares
               Filer Name         Date       Price           Sold         Proceeds
     2                        3/16/2017   $131.86         24,068     $3,173,606
     3                                                    155,454    $20,344,681
             Jones (G         5/13/2015      $69.69       5,000      $348,450
     4       Bradford)
     5                                                    5,000      $348,450
             McBride          3/16/2017      $132.88      627        $83,316
     6       (Kenneth)6
                              3/16/2017      $131.26      1,800      $236,268
     7
                              3/16/2017      $131.84      2,573      $339,224
     8                        4/17/2017      $106.74      1,771      $189,037
     9                        4/17/2017      $106.22      6,752      $717,197
                              4/17/2017      $105.05      1,477      $155,159
    10                                                    15,000     $1,720,201
    11       Weisberg (Seth   5/8/2015       $72.56       12,902     $936,169
             David)
    12                        5/11/2015      $74.29       1,400      $104,006
                              6/23/2015      $74.27       5,698      $423,190
    13
                              8/7/2015       $83.32       30,000     $2,499,600
    14                        3/1/2016       $120.63      11,096     $1,338,510
    15                        3/1/2017       $123.77      5,000      $618,850
                                                          66,096     $5,920,326
    16       Grand Total                                  377,568    $41,765,399
    17            100. During the two years prior to the Class Period, these same Company
    18 insiders sold only 377,568 shares of their Stamps stock, for proceeds of only
    19 $41.7 million. Notably, defendant McBride sold only 15,000 shares for $1.7 million
    20 in proceeds in the prior two years – compared to his Class Period sales of 190,000
    21 shares (which equated to 58% of his total holdings) for proceeds of more than $35
    22 million. Moreover, there were no reported sales for seven of the thirteen Company
    23 insiders (Ananda, Biswas, Buerba, defendant Carberry, Khechfe, Lipson and Miller)
    24 during this time period. The significantly smaller number of pre-Class Period sales
    25
    26
    27   6
            Prior to his 2017 sales, defendant McBride had not sold Company stock since
         January 2014.
    28
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     1 by such a broad swath of Company insiders highlights the suspicious nature of their
     2 Class Period insider sales.
     3            101. The insider sales were also suspicious in timing. As demonstrated
     4 above, the sales were predominantly made between August 2017 and June 2018, just
     5 after President Trump took office and subsequently announced his intent to eliminate
     6 business practices detrimental to the USPS. The sales were also made at times when
     7 the stock was trading at over $200 per share as defendants were materially inflating
     8 the Company’s revenues through their reseller scheme. Indeed, defendant Carberry
     9 sold his shares (for over $13 million in proceeds) at prices at and near a 52-week
    10 trading high for Stamps stock. The suspiciousness of the insider stock sales and their
    11 proximity to the Company’s concurrent stock repurchases (see ¶¶102-103) raise a
    12 strong inference that these insiders were aware of the unsustainability of Stamps’
    13 reseller scheme when they sold their shares and used that information in connection
    14 with the sales to avoid the significant losses in share value that would follow from
    15 the impending collapse of Stamps’ key source of revenue and profits.
    16 Corporate Stock Repurchase
    17            102. In order to allow Stamps’ insiders to sell the vast majority of their
    18 Stamps shares at artificially inflated prices before the truth about Stamps’
    19 manipulative practices was revealed, defendants and other Stamps board members
    20 caused the Company to repurchase approximately $300 million in Stamps shares at
    21 the same time Stamps insiders were selling hundreds of millions of dollars’ worth of
    22 Company stock – thereby averting a precipitous decline in Stamps’ share price that
    23 the massive insider trading would have otherwise caused.
    24
    25
    26
    27
    28
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     1
     2
     3
     4
     5
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     7
     8
     9
    10
    11            103. Thus, the wrongful course of business alleged herein was designed to
    12 allow Stamps’ insiders to sell substantial amounts of their Stamps shares at
    13 artificially inflated prices before the truth about Stamps’ manipulative practices was
    14 revealed.
    15 Defendants’ False Exculpatory
       Statements Are Additional Indicia of Scienter
    16
              104. In addition to concealing its actual business model from investors,
    17
       throughout the Class Period Stamps repeatedly dispelled investor concerns regarding
    18
       the reseller program by claiming that the program was beneficial to and, in fact, a
    19
       major asset of the USPS. For example, in August 2017, shortly after questions
    20
       surfaced regarding Stamps’ role in the USPS reseller program, Chairman and CEO
    21
       McBride falsely assured investors:
    22
                     Resellers are important both for keeping existing business and
    23
              for growing new business. You have people that are shipping through
    24
              the reseller channel. It works for the USPS.
    25
                                           *      *    *
    26
    27
    28
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     1            [T]he USPS looked at resellers and PC postage providers like
     2            Stamps.com and Endicia as excellent partners on bringing the best
     3            solutions to customers.
     4                       We continue to enjoy a great partnership with the Postal Service
     5            and feel that we have created a sustainable win-win model for both of
     6            us, which will result in a continued growth of USPS packages and e-
     7            commerce and online postage more generally.
     8            105. Rather than creating a “sustainable win-win model,” Stamps was
     9 improperly profiting from its misuse of the reseller program, which contributed to
    10 hundreds of millions of dollars in losses suffered by the USPS, which inevitably
    11 would result in the loss of Stamps’ lucrative partnership with the agency.
    12            106. Stamps concealed the existing strain in its relationship with the USPS,
    13 while touting the purported strength of its ties to the agency. For example, on August
    14 8, 2018, Stamps revealed in a quarterly Form 10-Q filing with the SEC that the USPS
    15 had approached the Company to discuss renegotiating their arrangement. This
    16 decision by the USPS occurred during the same quarter (2Q18) that the federal Task
    17 Force had launched its investigation of USPS’s long-term financial viability. It also
    18 followed growing concerns among investors and analysts regarding the propriety of
    19 Stamps’ reseller relationships.
    20            107. Nevertheless, during an investor conference call, McBride downplayed
    21 the significance of the negotiations: “These types of negotiations are very common
    22 for us. . . . In general, we expect that updates to our agreements with the USPS will
    23 continue to reflect the critical role that we play in their e-commerce package
    24 business, including that we have the largest private sales force focused on driving
    25 USPS growth.” When pressed by an analyst to provide more clarity, McBride again
    26 claimed the negotiations reflected no change to prior practice, stating: “[L]ike I
    27 mentioned in the prepared remarks, these types of agreements, these types of
    28 negotiations are very common for us. We’ve had – over the span of 20 years, we’ve
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     1 had dozens of these types of negotiations.” McBride, however, knew that conditions
     2 had changed and that the USPS was no longer willing to accept the status quo.
     3 Rather than some routine business discussion, the USPS was on the brink of severing
     4 its relationship with the Company.
     5            108. When Stamps finally revealed in February 2019 the termination of its
     6 commission-based “profit sharing” relationship with the USPS, the Company
     7 continued its deception by misrepresenting the true reasons for the termination. The
     8 Company falsely claimed that the decision to terminate its relationship with the
     9 USPS was driven by its desire to avoid exclusivity. Not so. The Company was
    10 already generating business from carriers other than the USPS through affiliates like
    11 ShipStation. Moreover, Stamps derived the majority of its revenue from the USPS
    12 and knew it could not make up that lost revenue for several years, if ever.
    13            109. Stamps’ explanation also does not comport with the Company’s prior
    14 statements about the contract negotiations, which made clear that they were initiated
    15 by the USPS and not Stamps. Finally, the USPS demanded that Stamps renegotiate
    16 the terms of their contract in 2Q18, contemporaneously with the launch of the Task
    17 Force, and the relationship was terminated in early 2019, soon after the Task Force
    18 Report was published, further confirming that the termination of the partnership was
    19 driven by the USPS’s dissatisfaction with Stamps and not the other way around.
    20            110. Market commentators likewise were confused by defendants’
    21 implausible explanation, noting:
    22                       Something is missing here. . . . I am unclear about the
    23            ‘exclusivity’ they are giving up. Rather I believe this is tied to the
    24            reseller programs they participate in, which I believe has been driving
    25            their profits. The (USPS) Office of Inspector General reported this as
    26            part of the $1 billion in lost revenue lost by USPS (in 2018). This is
    27            the smoking gun, or it could be the smell of impending lawsuits.
    28
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     1            111. Defendants’ subsequent disclosures confirm the USPS’s unwillingness
     2 to indulge Stamps’ illicit business practices, which had enabled Stamps to profit at
     3 the USPS’s expense while effectively cannibalizing the USPS’s customers.
     4            112. First, Stamps’ shift to a multi-carrier platform prior to the start of the
     5 Class Period resulted in Stamps converting existing USPS shippers to alternative
     6 carriers, thereby diminishing the USPS’s business and profits. Similarly, Stamps’
     7 abuse of the reseller program by improperly pilfering existing USPS postal business
     8 from existing USPS customers/shippers was adversely impacting the USPS because
     9 many of those customers were already utilizing the USPS when Stamps offered them
    10 discounted shipping through the misuse of its NSAs. Third, Stamps was bundling
    11 small-volume shippers to give them unauthorized discounts by entering reseller
    12 partnerships with third parties who also had NSAs with the USPS, which similarly
    13 did not allow for aggregating these small-volume shippers in order to secretly skim
    14 USPS profits by illicitly providing them with discounted shipping.
    15            113. On May 8, 2019, Stamps finally revealed publicly the extent and impact
    16 of defendants’ wrongdoing on Stamps and its operations, revealing that in addition
    17 to the loss of the exclusive commission business, the USPS was also restricting and
    18 terminating certain NSAs with the Company’s reseller partners and, thus, Stamps’
    19 expected future earnings would be substantially reduced.
    20 Stamps’ Improper Business
       Practices Were Central to Its Operations
    21
             114. Stamps’ reseller scheme was central to the Company’s business
    22
       operations as the USPS accounted for approximately 87% of Stamps’ revenue during
    23
       the Class Period. As a result of its partnership with the USPS, Stamps’ revenues
    24
       increased from $128 million to $469 million, a 266% increase, between 2013 and
    25
       2017.
    26
             115. Likewise, as government scrutiny by the USPS Task Force intensified,
    27
       Stamps’ ability to perpetuate its reseller scheme unraveled, resulting in the loss of
    28
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     1 its lucrative exclusive contract with the USPS and unfavorable renegotiated reseller
     2 rates with the USPS. Stamps’ expected FY19 profits plummeted and the Company
     3 reported significant declines in revenue and earnings guidance as a result thereof,
     4 with the Individual Defendants specifically attributing potential unfavorable short-
     5 and long-term amendments, renegotiations, and terminations of certain contracts
     6 between the USPS and the Company’s reseller partners as a primary cause for each.
     7            116. Stamps’ partnership with the USPS and use of its reseller rates to grow
     8 profits for the Company were fundamental and critically important parts of Stamps’
     9 business, and there is a strong inference that Stamps’ senior officers and directors
    10 were aware of the Company’s undisclosed reseller scheme to ramp-up revenues.
    11 Corporate Scienter
    12            117. Stamps possessed scienter by virtue of the fact that the Individual
    13 Defendants, who acted with scienter as set forth above, had binding authority over
    14 the Company as its CEO or CFO. In addition, certain allegations herein establish
    15 Stamps’ corporate scienter based on: (i) the state of mind of employees whose intent
    16 can be imputed to the Company; and/or (ii) the knowledge of employees who
    17 approved the statements alleged herein despite knowing the statements’ false and
    18 misleading nature.
    19            118. For instance, throughout the Class Period, Stamps’ financial operations
    20 (including its dealings with the USPS) were overseen by defendants McBride,
    21 Carberry and Huebner. The Individual Defendants repeatedly spoke on investors
    22 calls concerning the Company’s financial results and dealings with the USPS.
    23            119. As discussed in ¶¶49-50, Stamps had in place a process to track any
    24 complaints and/or concerns by the USPS regarding its reseller practices. Stamps
    25 also had in place extensive processes to track its financial performance on a daily,
    26 quarterly, and yearly basis. Thus, the Individual Defendants approved of the false
    27 and misleading statements in Stamps’ financial statements concerning the source
    28
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     1 and sustainability of its profits, while knowing that the true source of the profits was
     2 predominantly Stamps’ improper reseller scheme.
     3 Stamps’ President and Former CFO
       Abruptly Departed During the Class Period
     4
              120. On February 21, 2019, two months after the USPS Task Force Report
     5
       was released, and the same day Stamps stunned investors by announcing the end of
     6
       its USPS exclusive partnership, Stamps’ President and former CFO, defendant
     7
       Huebner, notified Stamps that he intended to resign after 20 years of service. This
     8
       departure was seen as abrupt and unexpected by analysts and industry insiders –
     9
       especially since Huebner had just been promoted to President of Stamps in August
    10
       2017.
    11
                           LOSS CAUSATION/ECONOMIC LOSS
    12
              121. Defendants’ false and misleading statements artificially inflated
    13
       Stamps’ stock price, deceived Lead Plaintiff and the Class and caused them losses
    14
       when the truth was revealed. As the truth about defendants’ prior misrepresentations
    15
       and fraudulent conduct reached the market, it caused Stamps’ stock price to fall
    16
       precipitously as the artificial inflation came out of the stock’s price. As a result of
    17
       their purchases of Stamps stock during the Class Period, Lead Plaintiff and other
    18
       members of the Class suffered economic loss, i.e., damages, under the federal
    19
       securities laws.
    20
              122. On February 21, 2019, after the market closed, Stamps held a
    21
       conference call to discuss its financial results for 4Q18 and FY18, as well as its
    22
       business outlook and “certain strategic items . . . that impact our business outlook
    23
       for 2019.” On the call, Stamps’ CEO McBride falsely represented that the Company
    24
       had been the one that “decided to discontinue [its] shipping partnership with the
    25
       USPS so that [it could] fully embrace partnerships with other carriers who . . . will
    26
       be well positioned to win in the shipping business in the next 5 years.” The
    27
       revelation stunned the market, which attempted to process the inexplicable
    28
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     1 announcement that the Company was simply walking away from a business
     2 relationship that had accounted for a significant portion of its revenue.
     3            123. Subsequently, on February 26, 2019, the market was further perplexed
     4 by reports in The American Conservative that, contrary to McBride’s February 21,
     5 2019 representation, it was the USPS that had decided to terminate its relationship
     6 with Stamps in the face of the Company’s abuse of the reseller program.
     7            124. With the removal of the USPS exclusive partnership, analysts estimated
     8 that Stamps would suffer an FY19 loss of roughly $140 million (or more than a
     9 quarter of its total revenue) in high margin commission revenue attributed to its
    10 exclusive NSA with the USPS. The loss of the USPS exclusive partnership caused
    11 the Company to further announce on February 21, 2019 that, contrary to previous
    12 expectations of strong FY19 growth, FY19 revenue was expected to decline by 5.4%
    13 to $540-$570 million (compared to analyst estimates of $702 million) and earnings
    14 per share would decline to $5.63 (compared to analyst estimates of $10.76). Stamps
    15 would also be forced to implement a 3% surcharge to its existing customers using
    16 its PC software to compensate for the lost commission component of revenues from
    17 the USPS – leading to further uncertainty concerning Company growth and the
    18 retention of new large-volume shippers to grow its customer base and leverage in
    19 the marketplace.
    20            125. On the same day, the President and former CFO of Stamps, defendant
    21 Huebner, notified Stamps that he intended to resign. His abrupt departure was
    22 unexpected by both analysts and industry insiders.
    23            126. As a result of this news, the Company’s stock price plummeted $114
    24 per share on record trading volume of 13.7 million shares to close at just under
    25 $84 per share on February 22, 2019, a decline of over 57%. Despite the Company’s
    26 assurances of “short term pain” to the investing public, the worst was not over for
    27 Stamps shareholders, as the stock continued to trade at artificially inflated levels as
    28
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     1 defendants continued to conceal the truth about the Company’s unsustainable
     2 reseller scheme.
     3            127. On May 8, 2019, Stamps further shocked investors by slashing its profit
     4 outlook for the full year, further fueling investor concerns about its ability to protect
     5 margins in the absence of a key partnership with the USPS. Stamps announced that
     6 the lowered guidance was attributed to potential unfavorable short- and long-term
     7 amendments, renegotiations, and terminations of certain NSA contracts between the
     8 USPS and the Company’s reseller partners – which defendants had known about and
     9 anticipated since the start of the Class Period, despite falsely telling investors that
    10 they “very recently bec[a]me aware” of these adverse conditions that would have a
    11 negative impact on the Company’s financials. The Company further stated that it
    12 now expected an FY19 profit of $3.35 to $4.85 per share, down from its prior
    13 estimate of $5.15 to $6.15 per share.
    14            128. As a result of this news, the Company’s stock price dropped $46 per
    15 share on record trading volume of 16.8 million shares to close at just under $37 per
    16 share on May 9, 2019, a decline of over 56%.
    17            129. The more than 50% decline in the trading price of Stamps’ shares after
    18 two consecutive quarterly results is extraordinary, and according to George Pearkes,
    19 a macro strategist at Bespoke Investment Group, there are “‘zero instances’” of a
    20 U.S. stock dropping 50% on earnings twice in a row, since 2001, when Bespoke’s
    21 data begins. After the dust had cleared, Stamps investors had lost 76% of their
    22 investments in only two and a half months.
    23            130. The declines in the price of Stamps stock after the corrective disclosures
    24 came to light were a direct result of the nature and extent of defendants’ fraudulent
    25 misrepresentations and the impact thereof being revealed to investors and the market
    26 and were a substantial cause of the decline. The timing and magnitude of the price
    27 declines in Stamps stock compared to the market and its peers negate any inference
    28 that the loss suffered by Lead Plaintiff and the other Class members was caused by
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     1 changed market conditions, macroeconomic or industry factors, or Company-
     2 specific facts unrelated to defendants’ fraudulent conduct. The economic loss, i.e.,
     3 damages, suffered by Lead Plaintiff and the other Class members was a direct result
     4 of defendants’ fraudulent scheme to artificially inflate the price of Stamps stock and
     5 the subsequent significant decline in the value of Stamps stock when defendants’
     6 prior misrepresentations and other fraudulent conduct were revealed.
     7                   APPLICABILITY OF PRESUMPTION OF RELIANCE:
                               FRAUD ON THE MARKET DOCTRINE
     8
                  131. At all relevant times, the market for Stamps stock was an efficient
     9
         market for the following reasons, among others:
    10
                             (a)   Stamps stock met the requirements for listing and was listed and
    11
         actively traded on the NASDAQ, a highly efficient, electronic stock market;
    12
                             (b)   as a regulated issuer, Stamps filed periodic public reports with
    13
         the SEC and the NASDAQ;
    14
                             (c)   Stamps regularly communicated with public investors via
    15
         established market communication mechanisms, including the regular dissemination
    16
         of press releases on national circuits of major newswire services and other wide-
    17
         ranging public disclosures, such as communications with the financial press and
    18
         other similar reporting services;
    19
                             (d)   Stamps was followed by securities analysts employed by major
    20
         brokerage firms who wrote reports that were distributed to the sales force and certain
    21
         customers of their respective brokerage firms. Each of these reports was publicly
    22
         available and entered the public marketplace; and
    23
                             (e)   Stamps’ stock price reacted in response to new material
    24
         information about Stamps’ business.
    25
                  132. As a result of the foregoing, the market for Stamps stock promptly
    26
         digested current information regarding Stamps from all publicly available sources
    27
         and reflected such information in the price of the stock. Under these circumstances,
    28
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     1 all purchasers of Stamps stock during the Class Period suffered similar injury
     2 through their purchase of Stamps stock at artificially inflated prices and a
     3 presumption of reliance applies.
     4                       DEFENDANT MCBRIDE’S INSIDER TRADING
     5            133. On or about December 18, 2017, defendant McBride sold 8,115 shares
     6 of Stamps common stock for almost $1.5 million in proceeds. On the same day,
     7 Lead Plaintiff INPRS bought shares of Stamps common stock.
     8            134. Because of his role as Chairman and CEO of Stamps during the Class
     9 Period, defendant McBride either knew, or recklessly disregarded, the material
    10 adverse non-public information about the improper, unsustainable business practices
    11 of Stamps (described herein in ¶¶24-64), including, inter alia, that the false and
    12 misleading statements and/or omissions alleged herein caused the price of Stamps
    13 stock to trade at artificially inflated prices at the same time defendant McBride
    14 disposed of $1.5 million worth of Company stock. Defendant McBride was in
    15 possession of material non-public information at the time of his December 18, 2017
    16 sales and traded contemporaneously with Lead Plaintiff INPRS, and other Stamps
    17 purchasers, on such information.
    18                            CLASS ACTION ALLEGATIONS
    19            135. Lead Plaintiff brings this action as a class action pursuant to Federal
    20 Rules of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all
    21 persons who purchased Stamps common stock during the Class Period and were
    22 harmed thereby (the “Class”). Excluded from the Class are defendants and their
    23 immediate families, the officers and directors of the Company, at all relevant times,
    24 members of their immediate families, and their legal representatives, heirs,
    25 successors or assigns, and any entity in which defendants have or had a controlling
    26 interest.
    27            136. The members of the Class are so numerous that joinder of all members
    28 is impracticable. Throughout the Class Period, Stamps shares were actively traded
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     1 on the NASDAQ. While the exact number of Class members is unknown to Lead
     2 Plaintiff at this time and can only be ascertained through appropriate discovery, Lead
     3 Plaintiff believes that there are thousands of members in the proposed Class, if not
     4 more. Record owners and other members of the Class may be identified from
     5 records maintained by Stamps, its transfer agent or securities’ brokers, and may be
     6 notified of the pendency of this action electronically or by mail, using the form of
     7 notice similar to that customarily used in securities class actions.
     8            137. Lead Plaintiff’s claims are typical of the claims of the members of the
     9 Class as all members of the Class are similarly affected by defendants’ wrongful
    10 conduct in violation of federal law complained of herein.
    11            138. Lead Plaintiff will fairly and adequately protect the interests of the
    12 members of the Class and has retained counsel competent and experienced in class
    13 action and securities litigation.
    14            139. Common questions of law and fact exist as to all members of the Class
    15 and predominate over any questions solely affecting individual members of the
    16 Class. Among the questions of law and fact common to the Class are:
    17                       (a)   whether the federal securities laws were violated by defendants’
    18 acts as alleged herein;
    19                       (b)   whether statements made by defendants to the investing public
    20 during the Class Period misrepresented material facts about the business and
    21 operations of Stamps;
    22                       (c)   whether the price of Stamps stock was artificially inflated during
    23 the Class Period; and
    24                       (d)   to what extent the members of the Class have sustained damages
    25 and the proper measure of damages.
    26            140. A class action is superior to all other available methods for the fair and
    27 efficient adjudication of this controversy since joinder of all members is
    28 impracticable. Furthermore, as the damages suffered by individual Class members
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     1 may be relatively small, the expense and burden of individual litigation make it
     2 impossible for members of the Class to individually redress the wrongs done to them.
     3 There will be no difficulty in the management of this action as a class action.
     4                                              COUNT I
     5                 For Violations of §10(b) of the 1934 Act and SEC Rule 10b-5
                                         (Against All Defendants)
     6
                  141. Lead Plaintiff repeats and realleges every allegation contained above as
     7
         if set forth herein.
     8
                  142. This Count is brought by Lead Plaintiff on behalf of itself and the Class.
     9
                  143. This Count is brought against Stamps and the Individual Defendants.
    10
                  144. During the Class Period, each of the defendants named in this Count
    11
         disseminated or approved the statements as specified above in ¶¶65-94, which they
    12
         knew or recklessly disregarded contained material misrepresentations and/or failed
    13
         to disclose material facts necessary in order to make the statements made, in light of
    14
         the circumstances under which they were made, not misleading.
    15
                  145. Defendants violated §10(b) of the 1934 Act and SEC Rule 10b-5 in that
    16
         they:
    17
                             (a)   employed devices, schemes, and artifices to defraud;
    18
                             (b)   made untrue statements of material fact or omitted to state
    19
         material facts necessary in order to make the statements made, in light of the
    20
         circumstances under which they were made, not misleading; or
    21
                             (c)   engaged in acts, practices, and a course of business that operated
    22
         as a fraud or deceit upon Lead Plaintiff and others similarly situated in connection
    23
         with their purchases of Stamps common stock during the Class Period.
    24
                  146. Defendants, individually and together, directly and indirectly, by the
    25
         use, means and instrumentalities of interstate commerce and/or the mails, engaged
    26
         and participated in a continuous course of conduct to conceal the truth and/or adverse
    27
    28
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     1 material information about Stamps’ business, operations, and financial condition as
     2 specified herein.
     3            147. Defendants had actual knowledge of the misrepresentations and
     4 omissions of material fact set forth herein, or recklessly disregarded the true facts
     5 that were available to them.
     6            148. As a result of the dissemination of the materially false or misleading
     7 information and/or failure to disclose material facts, as set forth above, the market
     8 price of Stamps common stock was artificially inflated during the Class Period. In
     9 ignorance of the fact that the market price of the Company’s common stock was
    10 artificially inflated, and relying directly or indirectly on the false and misleading
    11 statements, or upon the integrity of the market in which the Company’s common
    12 stock traded, and/or on the absence of material adverse information that was known
    13 to or recklessly disregarded by defendants (but not disclosed in defendants’ public
    14 statements during the Class Period), Lead Plaintiff and the other Class members
    15 purchased Stamps common stock during the Class Period at artificially high prices
    16 and were damaged thereby.
    17            149. Lead Plaintiff and the Class, in reliance on the integrity of the market,
    18 paid artificially inflated prices for Stamps common stock, and suffered losses when
    19 the relevant truth was revealed. Lead Plaintiff and the Class would not have
    20 purchased Stamps common stock at the prices they paid, or at all, if they had been
    21 aware that the market price had been artificially and falsely inflated by these
    22 defendants’ misleading statements.
    23            150. As a direct and proximate result of these defendants’ wrongful conduct,
    24 Lead Plaintiff and the other Class members suffered damages in connection with
    25 their Class Period transactions in Stamps common stock.
    26            151. By reason of the foregoing, defendants have violated §10(b) of the 1934
    27 Act and SEC Rule 10b-5.
    28
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     1                                          COUNT II
     2                          For Violations of §20(a) of the 1934 Act
                                 (Against the Individual Defendants)
     3
                  152. Lead Plaintiff repeats and realleges every allegation contained above as
     4
         if set forth herein.
     5
                  153. This Count is brought by Lead Plaintiff on behalf of itself and the Class.
     6
                  154. This Count is brought against the Individual Defendants.
     7
                  155. The Individual Defendants were each control persons of Stamps during
     8
         the Class Period by virtue of their positions as directors and/or senior officers of
     9
         Stamps.
    10
                  156. Each of the defendants named in this Count acted as a controlling
    11
         person of Stamps within the meaning of §20(a) of the 1934 Act. By virtue of their
    12
         high-level positions as officers and/or directors of Stamps, their ownership and
    13
         contractual rights, participation in and awareness of the Company’s operations, and
    14
         intimate knowledge of the statements filed by the Company with the SEC and/or
    15
         disseminated to the investing public, these defendants had the power to influence
    16
         and control and did influence and control, directly or indirectly, the decision-making
    17
         of the Company, including the content and dissemination of the allegedly false and
    18
         misleading statements.
    19
                  157. In particular, each of these defendants had direct or supervisory
    20
         responsibility over the day-to-day operations of the Company and, therefore, is
    21
         presumed to have had the power to control or influence the particular transactions
    22
         and business practices giving rise to the securities violations as alleged in Count I,
    23
         and exercised that power.
    24
                  158. As a direct and proximate result of these defendants’ wrongful conduct,
    25
         Lead Plaintiff and other members of the Class suffered damages in connection with
    26
         their purchases of the Company’s common stock during the Class Period when the
    27
         relevant truth was revealed.
    28
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     1            159. By reason of the foregoing, the defendants named in this Count violated
     2 §20(a) of the 1934 Act.
     3                                         COUNT III
     4                          For Violations of §20A of the 1934 Act
                                    (Against Defendant McBride)
     5
                  160. Lead Plaintiff repeats and realleges every allegation contained above as
     6
         if set forth herein.
     7
                  161. This Count is brought by Lead Plaintiff on behalf of itself and the
     8
         members of the Class who purchased Stamps common stock contemporaneously
     9
         with defendant McBride’s sales of Stamps common stock.
    10
                  162. This Count is brought against defendant McBride.
    11
                  163. During the Class Period, McBride was privy to confidential information
    12
         concerning Stamps’ operations, finances, financial condition, and future business
    13
         prospects, including, but not limited to, the false statements disseminated to the
    14
         investing public. Notwithstanding his duty to refrain from trading in Stamps
    15
         common stock without disclosing the foregoing materially adverse facts, and in
    16
         violation of his fiduciary duties to Class members, McBride sold Stamps common
    17
         stock contemporaneously with INPRS’s purchase and the purchases of Stamps
    18
         common stock by other Class members.
    19
                  164. Defendant McBride sold his Stamps shares as alleged above at prices
    20
         artificially inflated by the non-disclosure of material adverse non-public facts,
    21
         misrepresentations of fact, and the public statements released during the Class
    22
         Period.
    23
                  165. Defendant McBride was aware that he was in possession of material
    24
         adverse information that was not known to the investing public, including INPRS
    25
         and other members of the Class. McBride was obligated to disclose the material
    26
         non-public adverse information to Lead Plaintiff and other members of the Class
    27
         before selling his stock.
    28
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     1            166. By reason of the foregoing, McBride directly and indirectly, by use of
     2 the means and instrumentalities of interstate commerce, electronic communications,
     3 mailings and the facilities of a national securities exchange, employed devices,
     4 schemes, and artifices to defraud and engaged in acts and transactions and a course
     5 of business that operated as a fraud or deceit upon members of the investing public
     6 who purchased Stamps common stock contemporaneously with the sales by the
     7 defendant named in this Count.
     8            167. As a result of the foregoing, Lead Plaintiff and the other members of
     9 the Class who purchased Stamps common stock contemporaneously with the sale of
    10 Stamps common stock by McBride have suffered substantial damages measured by
    11 the amount of profits gained or losses not incurred by reason of McBride’s stock
    12 sales.
    13            168. This action was commenced within five years after defendant McBride
    14 made his sales while in the possession of material non-public adverse information.
    15            169. By reason of the foregoing, defendant McBride violated §20A of the
    16 1934 Act.
    17                                       PRAYER FOR RELIEF
    18            WHEREFORE, Lead Plaintiff prays for relief and judgment, as follows:
    19            A.         Determining that this action is a proper class action by certifying Lead
    20 Plaintiff as Class representative under Rule 23 of the Federal Rules of Civil
    21 Procedure and Lead Plaintiff’s counsel as Lead Counsel;
    22            B.         Awarding compensatory damages in favor of Lead Plaintiff and the
    23 other Class members against all defendants, jointly and severally, for all damages
    24 sustained as a result of defendants’ wrongdoing, in an amount to be proven at trial,
    25 including interest thereon;
    26            C.         Awarding Lead Plaintiff and the Class their reasonable costs and
    27 expenses incurred in this action, including counsel fees and expert fees; and
    28
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     1            D.         Awarding injunctive and such other equitable relief as the Court may
     2 deem just and proper.
     3                                         JURY DEMAND
     4            Lead Plaintiff hereby demands a trial by jury.
     5    DATED: August 5, 2019                        ROBBINS GELLER RUDMAN
                                                        & DOWD LLP
     6                                                 SPENCER A. BURKHOLZ
                                                       STEVEN W. PEPICH
     7                                                 ERIC I. NIEHAUS
     8
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     1                                CERTIFICATE OF SERVICE
     2            I hereby certify under penalty of perjury that on August 5, 2019, I authorized
     3 the electronic filing of the foregoing with the Clerk of the Court using the CM/ECF
     4 system which will send notification of such filing to the e-mail addresses on the
     5 attached Electronic Mail Notice List, and I hereby certify that I caused the mailing
     6 of the foregoing via the United States Postal Service to the non-CM/ECF participants
     7 indicated on the attached Manual Notice List.
     8                                                s/ Eric I. Niehaus
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                                                              Central District-

Mailing Information for a Case 2:19-cv-01828-MWF-SK Matt Karinski v.
Stamps.com, Inc. et al
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